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               DUNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

GARY FRISCH, TAMMY OTTO,              Case No. ______________
BRIAN KREB, HARRY VASQUEZ,
JADE AND CHRISTOPHER
WADLEIGH, DAVID PERRERA,
DENNIS BERNS, JONATHAN
LISCANO, and ROBERT STUEVE on         JURY TRIAL DEMANDED
behalf of themselves and all those
similarly situated,

          Plaintiffs,

     v.

FCA US, LLC,

          Defendant.


                        CLASS ACTION COMPLAINT
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      Plaintiffs file this lawsuit individually and on behalf of a proposed nationwide

class and statewide classes. Plaintiffs allege the following based on personal

knowledge as to their own acts and experiences and, as to all other matters, based on

the investigation of counsel:

                                I.   INTRODUCTION

      1.     FCA US, LLC (“FCA”) sold dangerous and defective Jeep Wrangler

4xe plug-in hybrid electric vehicles (“PHEV”) that are prone to catching fire and

exploding. Model years 2021 through 2023 Jeep Wrangler 4xe vehicles (the “Class

Vehicles”) contain a defect in the hybrid propulsion system that can cause vehicle

fires and explosions, even when the vehicles are parked with the ignition in the

“off” position (the “Fire Defect”). Despite the ongoing safety risk that the Fire

Defect poses, FCA has not yet corrected the problem and did nothing to warn

owners and lessees until very recently.

      2.     The Fire Defect exposes putative class members to an unreasonable

risk of accident, injury, death, or property damage if their vehicle catches fire

while in operation or, perhaps more commonly, spontaneously ignites while the

vehicle is parked at the class member’s home, on a public street, or in a public

parking lot. The Fire Defect also exposes passengers, other drivers on the road,

neighbors, owners of other cars parked near the Class Vehicles, and other




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bystanders to an unreasonable risk of accident, injury, death, and/or property

damage.

       3.    Some (but not all) of the known fire incidents have occurred while the

vehicles were charging.1 While FCA contends that the root cause of the fires is

unknown, alarmingly to consumers, it appears virtually certain that the defect is

connected to the vehicles’ high-voltage lithium-ion battery packs and related

components used to propel the vehicles when they are operating in electric mode.

       4.    The high-voltage lithium-ion battery packs in the Class Vehicles (the

“Battery Pack”) were made by Samsung SDI America Inc. (“Samsung”). Samsung

has a history of issues with its high-voltage EV batteries and FCA has had notice

since at least 2020. In August 2020, for instance, Ford recalled its Kuga PHEV due

to fire risk and, in a familiar refrain, owners were told not to charge the battery.

The battery manufacturer was Samsung.2 Similarly, BMW recalled over 26,000 of

its vehicles due to fire risk because “the battery production process allowed

impurities to enter the cells.”3


   1
      Ex. 1, Guillaume Rivard, Jeep Wrangler 4xe Recalled Following Eight Fires,
THE CAR GUIDE (Nov. 22, 2023),
https://www.guideautoweb.com/en/articles/72779/jeep-wrangler-4xe-recalled-
following-eight-fires/ (last visited March 3, 2024).
    2
      Ex. 2, Gustavo Henrique Ruffo, Samsung SDI Might Be The Root of Ford And
BMW PHEV Recalls, INSIDEEVS (Oct. 16, 2020),
https://insideevs.com/news/449322/samsung-sdi-root-ford-bmw-phev-recalls/ (last
visited March 3, 2024).
    3
      Id.


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       5.    Around 2022, Samsung recalled more than 1,000 of its EV batteries

(including in FCA vehicles) because of poor manufacturing quality.4

       6.    Though FCA now admits to having received reports of at least eight

(8) fires connected with the hybrid propulsion system (all occurring while the

vehicles were parked and turned off5), it has not offered owners and lessees of the

Class Vehicles any remedy to correct the defect.

       7.    Instead, with its first notification to Class Vehicle owners, FCA

“advised [owners] to refrain from recharging these vehicles and not to park them

inside of buildings or structures, or near other vehicles until the vehicle has the

final repair completed.” To be clear, there is no repair.

       8.    A plug-in electric hybrid that cannot be parked at its home or operated

in electric mode is not fit for its ordinary purpose. FCA does not tell Class Vehicle

owners just what constitutes a “safe” distance from an exploding vehicle or explain

what owners should do with their vehicles if they have no such place to park their

vehicles. This places an unfair burden on class members who are unable to use the

electric propulsion system they paid thousands of dollars of premium for and are

unable to park in their garage (and may have to park quite far away from their


   4
     Ex. 3, Jung Min-Hee, Samsung SDI Voluntarily Recalls EV Batteries in the
U.S., BUSINESSKOREA (Feb. 7, 2022),
https://www.businesskorea.co.kr/news/articleView.html?idxno=87120 (last visited
March 3, 2024).
   5
     Ex. 1.


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homes in order to park away from other vehicles). And while owners and lessees

cannot use the Class Vehicles, they must continue to make loan, lease, and

insurance payments that can add up to thousands of dollars each month.

       9.    Many Plaintiffs and putative class members cannot realistically

comply with FCA’s directive to park their Class Vehicles a “safe” distance from

structures or other vehicles near their residences, let alone at places they might

wish to drive their vehicles. And, especially in light of spiking gas prices, many

class members see little choice but to charge their vehicles rather than wait for

FCA to come up with a fix.

       10.   Not being able to plug in and charge the Class Vehicles defeats the

central purpose of a plug-in hybrid electric vehicle. Absent charging, the Class

Vehicles must run exclusively on their gasoline engine, which eliminates the

benefits of having a hybrid vehicle. Again, this defect renders a plug-in hybrid

electric vehicle unfit for its ordinary purpose.

       11.   FCA knew or should have known about the Fire Defect before the

Class Vehicles went to market. It certainly knew well before it issued its

confounding “recall,” through, among other things, studies on the fire risks of

lithium-ion battery packs prior to the time the Class Vehicles hit the market;6 the


   6
    See generally Ex. 4, Lithium-Ion Battery Safety Issues for Electric and Plug-in
Hybrid Vehicles, NATIONAL HIGHWAY TRAFFIC SAFETY ADMINISTRATION (Oct.
2017) (“2017 NHTSA Report”).


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rigorous pre-launch testing of the Class Vehicles and their hybrid propulsion that

any responsible manufacturer would have conducted (including testing that would

have revealed the batteries’ propensity to simultaneously combust); and similar fire

issues in other electric vehicles with Samsung lithium-ion battery packs.

      12.    If FCA had conducted adequate pre-launch testing of the hybrid

propulsion system in the Jeep Wrangler 4xe, including stress and durability testing

of the sort that is the norm for automobile manufacturers planning to market

vehicles using volatile lithium-ion batteries for propulsion, it would have learned

of the unreasonable and catastrophic risks posed by these lithium-ion battery packs

and the related components meant to enable the safe operation of the vehicles in

electric mode. FCA was therefore, at a minimum, reckless (and likely worse) in its

rush to release a PHEV Jeep Wrangler. If FCA did not conduct the type of pre-

launch testing suggested by NHTSA, as detailed below, FCA likewise did not

disclose this failure to test to consumers and such failure to test is material.

      13.    Owners and lessees of Class Vehicles are injured in fact, incurred

damages, and suffered ascertainable losses in money and property because of the

Fire Defect. Had Plaintiffs and the putative class members known of the Fire

Defect, then they would not have purchased or leased those vehicles; paid

substantially less for them; or purchased non-hybrid versions of the vehicles,

which are significantly less expensive.



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       14.    Plaintiffs bring this class action to redress FCA’s misconduct.

Plaintiffs seek damages and a repair under the Magnuson-Moss Warranty Act, 15

U.S.C. §§ 2301-2312, for FCA’s violations of state consumer protection acts,

breaches of implied warranies, and unjust enrichment.

                               II.   JURISDICTION

       15.    This Court has original jurisdiction over this lawsuit under the Class

Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2) and (6), because Plaintiffs

and Defendant are citizens of different states; there are more than 100 members of

the Class and each Subclass (as defined herein); the aggregate amount in

controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs;

and class members reside across the United States. The citizenship of each party is

described further below in the “Parties” section.

       16.    This Court has personal jurisdiction over the Defendant by virtue of

its transactions and business conducted in this judicial district, and because

Defendant is headquartered in Michigan. Defendant has transacted and done

business, and violated statutory and common law, in the State of Michigan and in

this judicial district.




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                                   III.   VENUE

       17.   Venue is proper in this judicial district under 28 U.S.C. § 1391

because Defendant transacts substantial business and is headquartered in this

district.

                                  IV.     PARTIES

A.     Plaintiffs

       Gary Frisch (Arizona)

       18.   Plaintiff and proposed class representative Gary B. Frisch is a citizen

of Arizona, residing in Scottsdale, Arizona. Plaintiff Frisch leased a 2021 Jeep

Wrangler 4xe on May 18, 2021, from an authorized FCA dealer in Phoenix,

Arizona. Mr. Frisch leased the car for personal, family, and household use, and

had a reasonable expectation that the Class Vehicle would not catch on fire while

charging or operating under ordinary use.

       19.   Before acquiring the Class Vehicle, Plaintiff Frisch conducted

extensive research, which included reading literature on the FCA website, a test

drive, discussions with the dealer sales representative and his manager as well as

reading online reviews regarding the vehicle. Based on this research,

Plaintiff Frisch believed FCA’s representations regarding the dependability and

safety of the Class Vehicle, as well as the fuel economy savings and benefits of it

being a hybrid vehicle with the ability to be driven in full electric mode. Plaintiff

also believed that the Class Vehicle’s plug-in functionality could be used to safely


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recharge the Class Vehicle’s electric battery indoors or at home. These were

among the reasons why Plaintiff leased the Class Vehicle. However, despite

touting the safety and dependability of the Class Vehicle and the benefits of using

the vehicle in its electric mode, at no point did FCA or its agents, dealers, or other

representatives disclose to Plaintiff the Fire Defect.

      20.    Plaintiff Frisch is now concerned about driving, charging, and parking

the Class Vehicle due to the dangers resulting from the Fire Defect. Plaintiff is

unable to park the car in his garage, charge the vehicle for fear of fire, or drive the

vehicle for short excursions from home utilizing the electric only functionality due

to the Fire Defect. In addition, it is impossible for Plaintiff to park the Class

Vehicle away from structures and other vehicles as FCA has instructed because of

concerns that the vehicle may cause damage to nearby vehicles. Moreover, because

Plaintiff can no longer charge the plug-in hybrid vehicle as he ordinarily would,

Plaintiff must pay for gas to use the vehicle that Plaintiff would not have otherwise

needed if the hybrid propulsion system was able to operate as intended. Plaintiff

requested that FCA fix the Class Vehicle to address the Fire Defect or provide an

alternate vehicle to drive, but FCA has not remedied the Fire Defect or provided

Plaintiff with another vehicle.

      21.    Had Plaintiff Frisch known of the Fire Defect, he would not have

leased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.



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Plaintiff has lost confidence in the ability of his Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

      Tammy Otto (Arizona)
      22.    Plaintiff and proposed class representative Tammy Otto is a citizen of

Arizona, residing in Sedona, Arizona. Plaintiff Otto purchased a 2021 Jeep

Wrangler 4xe on October 8, 2021, from an authorized FCA dealer in Flagstaff,

Arizona. Ms. Otto purchased the vehicle for personal, family, and household use,

and had a reasonable expectation that the Class Vehicle would not catch on fire

while charging or otherwise operating under ordinary use.

      23.    Before acquiring the Class Vehicle, Plaintiff Otto conducted extensive

research, including reviewing the vehicle’s features on the Jeep website. Based on

this research, Plaintiff Otto believed FCA’s representations regarding the

dependability and safety of the Class Vehicle, as well as the fuel economy savings

and benefits of it being a hybrid vehicle with the ability to be driven in full electric

mode. Plaintiff also believed that the Class Vehicle’s plug-in functionality could be

used to safely recharge the Class Vehicle’s electric battery indoors or at home.

These were among the reasons why Plaintiff purchased the Class Vehicle.



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However, despite touting the safety and dependability of the Class Vehicles and

the benefits of using the vehicle in its electric mode, at no point did FCA or its

agents, dealers, or other representatives disclose to Plaintiff the Fire Defect.

      24.    Plaintiff Otto is now concerned about driving, charging, and parking

the Class Vehicle due to the dangers resulting from the Fire Defect. Plaintiff limits

when she charges the vehicle and she cannot park the vehicle freely because she is

concerned it might catch on fire in the wooded area where she lives. Moreover,

because Plaintiff can no longer charge the plug-in hybrid vehicle as she ordinarily

would, Plaintiff must pay for gas to use the vehicle that Plaintiff would not have

needed otherwise was the hybrid propulsion system able to operate as intended.

Plaintiff requested that FCA provide her with a loaner vehicle due to the safety risk

from the fire defect, but FCA did not provide her with one.

      25.    Had Plaintiff Otto known of the Fire Defect, she would not have

purchased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of her Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.




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      Robert Stueve (Arizona)

      26.    Plaintiff and proposed class representative Robert Stueve is a citizen

of Texas, residing in Dallas, Texas. Plaintiff Stueve purchased a 2021 Jeep

Wrangler 4xe on or about November 24, 2023, from an authorized FCA dealer in

Phoenix, Arizona. Mr. Stueve purchased the car for personal, family, and

household use, and had a reasonable expectation that the Class Vehicle would not

catch on fire while charging or operating under ordinary use.

      27.    Before acquiring the Class Vehicle, Plaintiff Stueve conducted

extensive research, which included reading literature on the FCA website,

reviewing a set of buyback disclosure notices from FCA regarding the vehicle,

discussions with the dealer sales representative, and reading other materials

regarding the vehicle. Based on this research, Plaintiff Stueve believed FCA’s

representations regarding the dependability and safety of the Class Vehicle, as well

as the fuel economy savings and benefits of it being a hybrid vehicle with the

ability to be driven in full electric mode. Plaintiff also believed that the Class

Vehicle’s plug-in functionality could be used to safely recharge the Class Vehicle’s

electric battery indoors or at home. These were among the reasons why Plaintiff

purchased the Class Vehicle. However, despite touting the safety and dependability

of the Class Vehicle and the benefits of using the vehicle in its electric mode, at no




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point did FCA or its agents, dealers, or other representatives disclose to Plaintiff

the Fire Defect.

      28.    Plaintiff Stueve is now concerned about driving, charging, and

parking the Class Vehicle due to the dangers resulting from the Fire Defect.

Plaintiff is unable to park the car in his garage, charge the vehicle for fear of fire or

drive the vehicle for short excursions from home utilizing the electric only

functionality due to the Fire Defect. In addition, it is impossible for Plaintiff to

park the Class Vehicle away from structures and other vehicles as FCA has

instructed because of concerns that the vehicle may cause damage to nearby

vehicles. Moreover, because Plaintiff can no longer charge the plug-in hybrid

vehicle as he ordinarily would, Plaintiff must pay for gas to use the vehicle that

Plaintiff would not have needed otherwise was the hybrid propulsion system able

to operate as intended. FCA has not remedied the Fire Defect or provided Plaintiff

with another vehicle.

      29.    Had Plaintiff Stueve known of the Fire Defect, he would not have

purchased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of his Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put




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Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

      Brian Kreb (California)
      30.    Plaintiff and proposed class representative Brian Kreb is a citizen of

California, residing in Chico, California. Plaintiff Kreb purchased a 2021 Jeep

Wrangler 4xe on September 8, 2021, from an authorized FCA dealer in San Jose,

California. Mr. Kreb purchased the vehicle for personal, family, and household

use, and had a reasonable expectation that the Class Vehicle would not catch on

fire while charging or otherwise operating under ordinary use.

      31.    Before acquiring the Class Vehicle, Plaintiff Kreb conducted

extensive research, including going on the Jeep website and building out his

individual vehicle for purchase, looking at the reported mileage and the specifics of

the hybrid engine, and test driving the car itself. Based on this research, Plaintiff

Kreb believed FCA’s representations regarding the dependability and safety of the

Class Vehicle, as well as the fuel economy savings and benefits of it being a hybrid

vehicle with the ability to be driven in full electric mode. Plaintiff also believed

that the Class Vehicle’s plug-in functionality could be used to safely recharge the

Class Vehicle’s electric battery indoors and at home. These were among the

reasons why Plaintiff purchased the Class Vehicle. However, despite touting the

safety and dependability of the Class Vehicles and the benefits of using the vehicle



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in its electric mode, at no point did FCA or its agents, dealers, or other

representatives disclose to Plaintiff the Fire Defect.

      32.    Plaintiff Kreb is now concerned about driving, charging, and parking

the Class Vehicle due to the dangers resulting from this defect. Plaintiff is forced to

refrain from using the electric mode of the Class Vehicle due to the Fire Defect and

avoids parking it inside his garage at home or near other cars he owns. Moreover,

because Plaintiff can no longer charge the battery on the plug-in hybrid vehicle as

he ordinarily would, Plaintiff must pay for gasoline he otherwise would not have

needed was the hybrid propulsion system able to operate as intended.

      33.    Had Plaintiff Kreb known of the Fire Defect, he would not have

purchased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of his Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

      Harry Vasquez (Florida)
      34.    Plaintiff and proposed class representative Harry Vasquez is a citizen

of Florida, residing in New Port Richey, Florida. Plaintiff Vasquez purchased a

2021 Jeep Wrangler 4xe on September 15, 2023, from a dealer in Tampa, Florida.



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Mr. Vasquez purchased the vehicle for personal, family, and household use, and

had a reasonable expectation that the Class Vehicle would not catch on fire while

charging or otherwise operating under ordinary use.

      35.    Before acquiring the Class Vehicle, Plaintiff Vasquez conducted

extensive research, including reviewing the vehicle’s features on the Jeep website.

Based on this research, Plaintiff Vasquez believed FCA’s representations regarding

the dependability and safety of the Class Vehicle, as well as the fuel economy

savings and benefits of it being a hybrid vehicle with the ability to be driven in full

electric mode. Plaintiff also believed that the Class Vehicle’s plug-in functionality

could be used to safely recharge the Class Vehicle’s electric battery indoors or at

home. These were among the reasons why Plaintiff purchased the Class Vehicle.

However, despite touting the safety and dependability of the Class Vehicles and

the benefits of using the vehicle in its electric mode, at no point did FCA or its

agents, dealers, or other representatives disclose to Plaintiff the Fire Defect.

      36.    Plaintiff Vasquez is now concerned about driving, charging, and

parking the Class Vehicle due to the dangers resulting from the Fire Defect.

Plaintiff Vasquez avoids driving the Class Vehicle as much as possible, but cannot

reasonably park the Class Vehicle away from buildings or other vehicles.

Moreover, because Plaintiff can no longer charge the plug-in hybrid vehicle as he




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ordinarily would, Plaintiff must pay for additional gas that Plaintiff would not have

otherwise needed if the hybrid propulsion system was able to operate as intended.

      37.    Had Plaintiff Vasquez known of the Fire Defect, he would not have

purchased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of his Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

      Jade and Christopher Wadleigh (New Jersey)

      38.    Plaintiffs and proposed class representatives Jade and Christopher

Wadleigh are a married couple and citizens of New Jersey, residing in Sussex,

New Jersey. Plaintiffs purchased a 2021 Jeep Wrangler 4xe on or about July 5,

2021, from an authorized FCA dealer. Plaintiffs purchased the vehicle for personal,

family, and household use, and had a reasonable expectation that the Class Vehicle

would not catch on fire while charging or otherwise operating under ordinary use.

      39.    Before acquiring the Class Vehicle, Plaintiffs conducted extensive

research, including reviewing the vehicle’s features on the Jeep website. Based on

this research, Plaintiffs believed FCA’s representations regarding the dependability

and safety of the Class Vehicle, as well as the fuel economy savings and benefits



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of it being a hybrid vehicle with the ability to be driven in full electric mode.

Plaintiffs also believed that the Class Vehicle’s plug-in functionality could be used

to safely recharge the Class Vehicle’s electric battery indoors or at home. These

were among the reasons why Plaintiffs purchased the Class Vehicle. However,

despite touting the safety and dependability of the Class Vehicles and the benefits

of using the vehicle in its electric mode, at no point did FCA or its agents, dealers,

or other representatives disclose to Plaintiffs the Fire Defect.

      40.    The Wadleigh Plaintiffs are now concerned about driving, charging,

and parking the Class Vehicle due to the dangers resulting from the Fire Defect.

Moreover, because Plaintiffs can no longer charge the plug-in hybrid vehicle as

they ordinarily would, Plaintiffs must pay for additional gas that they would not

have otherwise needed if the hybrid propulsion system was able to operate as

intended.

      41.    Had the Wadleigh Plaintiffs known of the Fire Defect, they would not

have purchased the Jeep Wrangler 4xe, but would have instead chosen a safer

vehicle. Plaintiffs have lost confidence in the ability of the Class Vehicle to

provide safe and reliable transportation for ordinary and advertised purposes, and

Plaintiffs cannot operate the vehicle in a manner in which it was intended to be

used. FCA has put Plaintiffs in the untenable position of having to drive an unsafe

vehicle and has not provided any concrete repair to address the Fire Defect.



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      David Perrera (North Carolina)

      42.    Plaintiff and proposed class representative David Perrera is a citizen

of North Carolina, residing in Charlotte, North Carolina. Plaintiff Perrera leased a

2021 Jeep Wrangler 4xe on December 4, 2021, from an authorized FCA dealer.

Mr. Perrera leased the vehicle for personal, family, and household use, and had a

reasonable expectation that the Class Vehicle would not catch on fire while

charging or otherwise operating under ordinary use.

      43.    Before acquiring the Class Vehicle, Plaintiff Perrera conducted

extensive research, including reviewing the vehicle’s features on the Jeep website.

Based on this research, Plaintiff Perrera believed FCA’s representations regarding

the dependability and safety of the Class Vehicle, as well as the fuel economy

savings and benefits of it being a hybrid vehicle with the ability to be driven in full

electric mode. Plaintiff also believed that the Class Vehicle’s plug-in functionality

could be used to safely recharge the Class Vehicle’s electric battery indoors or at

home. These were among the reasons why Plaintiff leased the Class Vehicle.

However, despite touting the safety and dependability of the Class Vehicles and

the benefits of using the vehicle in its electric mode, at no point did FCA or its

agents, dealers, or other representatives disclose to Plaintiff the Fire Defect.

      44.    Plaintiff Perrera is now concerned about driving, charging, and

parking the Class Vehicle due to the dangers resulting from the Fire Defect.



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Moreover, because Plaintiff can no longer charge the plug-in hybrid vehicle as he

ordinarily would, Plaintiff must pay for additional gas that Plaintiff would not have

otherwise needed if the hybrid propulsion system was able to operate as intended.

      45.    Had Plaintiff Perrera known of the Fire Defect, he would not have

leased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of her Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

      Dennis Berns (Pennsylvania)
      46.    Plaintiff and proposed class representative Dennis Berns is a citizen of

Pennsylvania, residing in Milford, Pennsylvania. Plaintiff Berns purchased a 2021

Jeep Wrangler 4xe on or about December 30, 2022, from an authorized FCA

dealer. Mr. Berns purchased the vehicle for personal, family, and household use,

and had a reasonable expectation that the Class Vehicle would not catch on fire

while charging or otherwise operating under ordinary use.

      47.    Before acquiring the Class Vehicle, Plaintiff Berns conducted

extensive research, including reviewing the vehicle’s features on the Jeep website.

Based on this research, Plaintiff Berns believed FCA’s representations regarding



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the dependability and safety of the Class Vehicle, as well as the fuel economy

savings and benefits of it being a hybrid vehicle with the ability to be driven in full

electric mode. Plaintiff also believed that the Class Vehicle’s plug-in functionality

could be used to safely recharge the Class Vehicle’s electric battery indoors or at

home. These were among the reasons why Plaintiff purchased the Class Vehicle.

However, despite touting the safety and dependability of the Class Vehicles and

the benefits of using the vehicle in its electric mode, at no point did FCA or its

agents, dealers, or other representatives disclose to Plaintiff the Fire Defect.

      48.    Plaintiff Berns is now concerned about driving, charging, and parking

the Class Vehicle due to the dangers resulting from the Fire Defect. Moreover,

because Plaintiff can no longer charge the plug-in hybrid vehicle as he ordinarily

would, Plaintiff must pay for additional gas that Plaintiff would not have otherwise

needed if the hybrid propulsion system was able to operate as intended.

      49.    Had Plaintiff Berns known of the Fire Defect, he would not have

purchased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of her Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.



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      Jonathan Liscano (Texas)

      50.    Plaintiff and proposed class representative Jonathan Liscano is a

citizen of Texas, residing in McAllen, Texas. Plaintiff Liscano leased a 2023 Jeep

Wrangler 4xe on or about April 19, 2023, from a dealer in McAllen, Texas. Mr.

Liscano leased the vehicle for personal, family, and household use, and had a

reasonable expectation that the Class Vehicle would not catch on fire while

charging or otherwise operating under ordinary use.

      51.    Before acquiring the Class Vehicle, Plaintiff Liscano conducted

extensive research, including but not limited to reviewing the vehicle’s features on

the Jeep website. Based on this research, Plaintiff Liscano believed FCA’s

representations regarding the dependability and safety of the Class Vehicle, as well

as the fuel economy savings and benefits of it being a hybrid vehicle with the

ability to be driven in full electric mode. Plaintiff also believed that the Class

Vehicle’s plug-in functionality could be used to safely recharge the Class Vehicle’s

electric battery indoors or at home. These were among the reasons why Plaintiff

leased the Class Vehicle. However, despite touting the safety and dependability of

the Class Vehicles and the benefits of using the vehicle in its electric mode, at no

point did FCA or its agents, dealers, or other representatives disclose to Plaintiff

the Fire Defect.




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      52.    Plaintiff Liscano is now concerned about driving, charging, and

parking the Class Vehicle due to the dangers resulting from the Fire Defect.

Moreover, because Plaintiff can no longer charge the plug-in hybrid vehicle as he

ordinarily would, Plaintiff must pay for additional gas that Plaintiff would not have

otherwise needed if the hybrid propulsion system was able to operate as intended.

      53.    Had Plaintiff Liscano known of the Fire Defect, he would not have

leased the Jeep Wrangler 4xe, but would have instead chosen a safer vehicle.

Plaintiff has lost confidence in the ability of his Class Vehicle to provide safe and

reliable transportation for ordinary and advertised purposes, and Plaintiff cannot

operate the vehicle in a manner in which it was intended to be used. FCA has put

Plaintiff in the untenable position of having to drive an unsafe vehicle and has not

provided any concrete repair to address the Fire Defect.

B.    Defendant
      54.    Defendant FCA US, LLC (“FCA”), formerly known as Chrysler

Group, is a Delaware limited liability company organized and existing under the

laws of the State of Delaware, and is wholly owned by Stellantis N.V., a Dutch

corporation headquartered in Amsterdam, Netherlands. FCA’s principal place of

business and headquarters is at 1000 Chrysler Drive, Auburn Hills, Michigan

48326.




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      55.    FCA is a motor vehicle manufacturer and a licensed distributor of

new, previously untitled Chrysler, Dodge, Jeep, and Ram brand motor vehicles.

FCA’s Chrysler brand is one of the “Big Three” American automobile brands.

FCA engages in commerce by distributing and selling new and used passenger cars

and motor vehicles under its Chrysler, Dodge, Jeep, and Ram brands.

      56.    FCA, through its various entities, designs, manufactures, markets,

distributes, and sells automobiles throughout the United States and worldwide.

FCA and/or its agents designed and manufactured the Class Vehicles. FCA also

developed and disseminated the owner’s manuals and warranty booklets,

advertisements, brochures, and other promotional materials relating to the Class

Vehicles, with the intent that such documents be purposely distributed throughout

all fifty states. FCA is engaged in interstate commerce, selling vehicles through its

network in every state of the United States.

                       V.     FACTUAL ALLEGATIONS
A.    FCA marketed the Jeep Wrangler 4xe as a rugged, high-performing,
      and emissions-friendly hybrid-electric vehicle.

      57.    The Jeep Wrangler is a popular compact sport utility vehicle that FCA

designs, manufactures, and sells under the Jeep brand. The Jeep Wrangler features

a four-wheel drive drivetrain (also known as “4x4” or “four-by-four”), which

transmits torque to all four of its wheels simultaneously, allowing the vehicle to be

driven off-road or on rough terrain.


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      58.    In 2021, FCA released a “4xe” plug-in hybrid-electric version of the

Jeep Wrangler as part of the growing trend in the automotive industry towards

electrification and hybrid vehicles. The 4xe (or “four-by-e”) name is a play-on of

“4x4” that highlights the vehicle’s four-wheel drive and electric capabilities.

      59.    FCA advertised the Jeep Wrangler 4xe as offering the same rugged

features as the Jeep Wrangler, but with the benefits of a plug-in hybrid electric

battery. Plug-in hybrid-electric vehicles like the Class Vehicles have significant

environmental advantages over conventional vehicles with internal combustion

engines. While operating in electric mode, the Class Vehicles do not produce any

of the noxious tailpipe emissions—such as nitrogen oxides and other smog-

forming pollutants, other pollutants harmful to human health, and greenhouse

gases such as carbon dioxide and methane—that vehicles with internal combustion

engines produce. In addition to the environmental benefits, the plug-in hybrid-

electric design consumes less fuel and is supposed to provide more power and

torque than traditional internal combustion engines, giving the Class Vehicles

better acceleration and performance.

      60.    FCA’s marketing for the Class Vehicles conveyed to consumers that

they could have the best of both worlds—an adventurous vehicle that was also

emissions friendly and technology driven.




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      61.      For example, the vehicle brochure for the 2021 Jeep Wrangler 4xe

touts that the vehicle “is a shining example of hybrid innovation, handing you

tomorrow’s progressive technology, today,” while also providing “the rugged,

open-air freedom and legendary capability that Jeep Wrangler is revered for, the

world over”:




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      62.   The brochure also boasted that the vehicle was “strong,” “quick,”

“expansive,” and “easy on the planet”:




      63.   FCA promoted the same bundle of features in the vehicle brochures

for the 2022 and 2023 Jeep Wrangler 4xe:




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      2022:




      2023:




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      64.    In addition to highlighting the off-road capabilities of the Jeep

Wrangler 4xe, FCA also marketed the vehicle as fit for city driving. For example,

the vehicle brochure for the 2021 Jeep Wrangler 4xe highlighted how the driver

could choose between different modes of the hybrid drivetrain under the banner of

“POWER x2,” including an electric-only mode and an “E-SAVE” mode for “low-

emission zones in cities.”




      65.    The purported benefits of the plug-in hybrid-electric design came at a

hefty premium to consumers: the Jeep Wrangler 4xe models cost thousands of

dollars more than similarly equipped Jeep Wranglers with conventional, non-


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hybrid internal combustion engines. And while FCA highlighted the electric

battery features to justify this premium cost, FCA’s marketing never disclosed to

consumers that the Class Vehicles were equipped with dangerous batteries

susceptible to spontaneous fire.

      66.    Nor did FCA’s marketing disclose to consumers that they would not

be able to park or charge their vehicles indoors due to battery fire risk. Instead,

FCA advertised the high-tech charging features of the Class Vehicles, and

ironically described the vehicle interiors as “a place to recharge.”




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         67.   Instead of being a “place to recharge,” Plaintiffs and class members

are justifiably afraid to be anywhere near their Jeep Wrangler 4xe, much less inside

of it.

B.       The Fire Defect is likely the result of defective high-voltage lithium-ion
         batteries.

         68.   FCA failed to adequately research, design, test, and manufacture the

Class Vehicles before warranting, advertising, promoting, marketing, and selling

the Class Vehicles as suitable and safe for use in an intended and reasonably

foreseeable manner.

         69.   As FCA now admits in a November 22, 2023, notification of a safety

recall sent to the National Highway Traffic Safety Administration (“NHTSA”) (of

which consumers were apprised later in 2023),7 the Class Vehicles contain a “high

voltage (‘HV’) battery which may fail internally” and could “lead to a vehicle fire

with the ignition on or off.”

         70.   Although FCA claims that the “root cause” of the Fire Defect is

unknown, the nature of the fires and the fact they can occur even while the vehicle

is not running—together with FCA’s direction to refrain from charging the vehicle

until it is willing and able to provide a fix—strongly suggests that the defect is




     7
    Ex. 5, November 22, 2023 Part 573 Safety Recall Report for NHTSA Recall
No. 23V-787.


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connected to the high-voltage lithium battery pack that powers the electric

propulsion of the Class Vehicles.

       71.   At a high level, the fire risk posed by the use of lithium-ion batteries

stems from a phenomenon known as “thermal runaway.” A lithium-ion cell can

heat up and catastrophically fail under one of several scenarios: a manufacturing

defect in a cell; improper electrical charging and/or discharging; mechanical

damage associated with significant bending or puncturing of a cell; or thermal

abuse, wherein the cell is subjected to high temperatures. All of these scenarios

generate local heating in the cell. The local heating induces locally high

temperatures, which accelerate additional chemical reactions that can promote the

degradation of the organic liquid electrolytes in the cell; these electrolytes and their

decomposition products are volatile and flammable at high temperatures.8

       72.   Significantly, the documented fires in the Class Vehicles do not

appear to be the result of external abuse. Upon information and belief, all reported

fires to date have resulted from an internal failure while the cars are parked and

turned off.9 Reports suggest that this type of spontaneous combustion is caused by



   8
     Ex. 6, Heekyon Yang, Explainer: Are lithium-ion batteries in EVs a fire
hazard?, REUTERS (Aug. 23, 2021), https://www.reuters.com/business/autos-
transportation/are-lithium-ion-batteries-evs-fire-hazard-2021-08-23/#:~:text=
Lithium%2Dion%20batteries%2C%20whether%20they,battery%20is%20not%20d
esigned%20correctly (last visited March 3, 2024).
   9
     Ex. 1.


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the internally initiated thermal runaway process. Given that a single cell failure that

may occur because of cell manufacturing defects, good engineering design should

limit the thermal runaway propagation to adjacent cells. Catastrophic failure occurs

when multiple cells become engaged in thermal runaway. It has been estimated

that thermal runaway has caused as many as 80% of lithium-ion battery fires.10

        73.   The high-voltage batteries in the Class Vehicles are 400v lithium-ion

batteries made by Samsung that have an MSRP of $16,910.00 each.11 FCA and

Samsung have recently touted their $2.5 billion joint venture in manufacturing

these battery packs in Kokomo, Indiana.12

        74.   Samsung also made the cells contained in batteries that allegedly

caused fires in certain BMW and Ford models that have been recalled and subject




   10
       See Ex. 7, Adreesh Ghoshal, How Lithium Ion Batteries in EVs Catch Fire,
MEDIUM (Aug. 16, 2020), https://medium.com/the-innovation/how-lithium-ion-
batteries-in-evs-catch-fire-9d166c5b3af1 (last visited March 3, 2024); see also Ex.
8, Ryan Fogelman, April 2020 Fire Report: How & Why Do Lithium-Ion Batteries
Fail, Insight from the Jedi Master of Lithium Power!, WASTE360 (May 5, 2020),
https://www.waste360.com/safety/april-2020-fire-report-how-why-do-lithium-ion-
batteries-fail-insight-jedi-master-lithium (last visited March 3, 2024).
    11
       Ex. 9, Mild Hybrid Motor Generator Unit Battery Pack, MYMOPARPARTS,
https://www.mymoparparts.com/oem-parts/mopar-mild-hybrid-motor-generator-
unit-mgu-battery-pack-68488244aa (last visited March 3, 2024).
    12
       Ex. 10, Stellantis and Samsung SDI to Invest Over $2.5 Billion in Joint
Venture for Lithium-Ion Battery Production Plant in United States, STELLANTIS
PRESS RELEASE (May 24, 2022), https://www.stellantis.com/en/news/press-
releases/2022/may/stellantis-and-samsung-announce-battery-plant-in-
kokomo?adobe_mc_ref=. (last visited March 3, 2024).


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to litigation.13 Those Ford and BMW recalls occurred in 2020, and upon

information and belief, were caused by similar defective attributes as present here.

        75.   According to BMW, the fires that led to recall of their PHEVs were

caused by “thermal events” in the Samsung batteries.14 These facts make it

overwhelmingly likely that the Fire Defect is in fact the result of defectively

designed, manufactured, or installed batteries.

        76.   So far, FCA has recalled only the 2021-2023 Jeep Wrangler 4xe.

However, FCA has continuously sold Jeep Wrangler 4xe vehicles to this day and

continues to use Samsung’s 400v lithium-ion batteries.

        77.   Accordingly, Plaintiffs’ counsel continue to investigate whether

additional model years of the Jeep Wrangler 4xe are also affected by the Fire

Defect.




   13
     Ex. 2.
   14
     Ex. 11, Burbank et al. v. BMW of N. Am., No. 2:21-cv-01711 (D.N.J.) (Dkt.
No. 1, at ¶ 15) (Dec. 3, 2020).


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C.        FCA knew or should have known of the Fire Defect long before it
          disclosed the problem to Plaintiffs.
                i.    Lithium-ion batteries are dangerous without appropriate
                      safeguards.

          78.   Most electric and hybrid electric vehicles, like the Class Vehicles, use

lithium-ion batteries because of their “high power-to-weight ratios, high energy

efficiency, good high-temperature performance, and low self-discharge.”15

          79.   However, Lithium-ion batteries also carry well-documented risks of

spontaneous combustion.16 Safety concerns related to unexpected fires connected

with Lithium-ion batteries are well-documented and were known to FCA at the

time it designed, manufactured, and sold the Class Vehicles.17 Well before 2017,

many scientific and engineering articles discussed the thermal-runaway-related

safety concerns of lithium-ion cells and battery packs and proposed solutions.18

(Wen et al., 2012; Feng et al., 2015).




     15
       Ex. 12, Batteries for Hybrid and Plug-In Electric Vehicles, U.S. DEP’T OF
ENERGY, https://afdc.energy.gov/vehicles/electric_batteries.html (last visited March
3, 2024).
    16
       See Ex. 7; see also Ex. 8.
    17
       See Ex. 4, 2017 NHTSA Report at 2-24 through 2-27, 3-9-3 through 3-11
(discussing fire risks of high-voltage lithium-ion batteries in vehicles).
    18
       Ex. 13, Wen, Jianwu, et al., A Review on Lithium-Ion Batteries Safety Issues:
Existing Problems and Possible Solutions, AMERICAN SCIENTIFIC PUBLISHERS
(2012); Ex. 14, Feng, Xuning, et al., Thermal runaway mechanism of lithium ion
battery for electric vehicles: A review, SCIENCEDIRECT, 2015,
https://www.sciencedirect.com/science/article/abs/pii/S2405829716303464, (last
visited March 3, 2024)


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        80.    Like other batteries, Lithium-ion batteries are made up of multiple

power-generating compartments called “cells.”19 Each cell contains the basic

functional components of a simple battery: a positive electrode, a negative

electrode, and an electrolyte.20 In addition, each cell contains a separator designed

to keep the positive electrode from contacting and discharging into the negative

electrode.21

        81.    The active materials (either cathode or anode) store the lithium. The

electrolyte carries lithium ions between electrodes.22 When lithium ions flow from

the negative electrode, or anode, to the positive electrode, or cathode, energy is

discharged from the battery cell in the form of electricity.23 When the cell is

charging, those ions flow in the opposite direction, or from cathode to anode.24

        82.    Of course, a single cell cannot store nearly enough energy to power an

automobile, so cells are grouped into modules and packs. Those modules and

packs, together with control systems, constitute the complete battery.25




   19
       Ex. 15, Chris Woodford, Lithium-ion batteries, EXPLAINTHATSTUFF! (Nov.
23, 2020), https://www.explainthatstuff.com/how-lithium-ion-batteries-work.html
(last visited March 3, 2024).
    20
       Id.
    21
       Id.
    22
       Id.
    23
       Id.
    24
       Id.
    25
       Ex. 4, 2017 NHTSA Report, § 4.


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        83.   A module ordinarily contains an array of cells, sensors, controls,

mounts, communications capabilities, protective safety devices, and cooling

elements or cooling provisions.26

        84.   Beyond this, there are various methods of: (i) arranging the cells into

arrays within the module; (ii) managing the flow of electrical current to and from

the module or arrays within the module; and (iii) monitoring and managing the

temperature of the cells within the module. Finally, there are various other

necessary safety features, and integration with vehicle with the vehicle also plays

an important role in the safety of the Lithium-ion battery.27

        85.   Just as important as the design and safety features used in an Lithium-

ion battery pack is rigorous pre-launch testing.28 The use of better safety systems

and more rigorous testing would have prevented the reported battery fire incidents

in the Class Vehicles and the significant cost and inconvenience now visited upon

Plaintiffs and class members.

        86.   On information and belief, FCA knew or should have known about

the Fire Defect before it sold the Class Vehicles and certainly long before it

disclosed the problem, as evidenced by: (1) the well-documented risks of runaway

propagation in lithium-ion batteries; (2) the rigorous pre-launch testing FCA must


   26
      Id. § 4.1.1.
   27
      Id., Ch. 4.
   28
      Id., Ch. 8.


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have done on the batteries and hybrid propulsion system; (3) consumer complaints

lodged with NHTSA and elsewhere online; (4) consumer complaints lodged with

FCA directly; and (5) other similar fire issues in BMW and Ford-manufactured

vehicles that (like the Class Vehicles) use Samsung batteries for electric

propulsion.

                ii.   The National Highway Traffic Safety Administration
                      (NHTSA) warned of safety risks for lithium-ion batteries
                      well before the Class Vehicles entered the market.

         87.    In 2017, NHTSA released a report on lithium-ion battery safety

issues, which documented well-known battery fire risks, cited to the vast body of

academic and engineering studies on those risks, and recommended rigorous

design and testing protocols to protect against those risks. All of this would have

been known to FCA at the time it launched the Class Vehicles.

         88.    NHTSA reiterated that all car manufacturers have a duty “to conduct

their own due diligence safety testing and analysis, while the industry is working to

develop a consensus.”29 Unfortunately for Plaintiffs and the putative Classes and

Subclasses, FCA recklessly or intentionally breached this duty to better pad its

profits.

         89.    A central focus of the NHTSA Report is the fire risk associated with

the use of Lithium-ion batteries, and recommended protection methods and


   29
        Id. at xx.


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rigorous testing required to mitigate that risk.30 The major cause of these fires is

the propagation of thermal runaway.

        90.   According to the NHTSA Report, thermal runaway “is a phenomenon

in which the lithium-ion cell enters an uncontrollable, self-heating state.”31 If a cell

short-circuits, the cell electrolyte can combust; pressure in the cell rapidly

increases until the cell bursts and releases the flammable electrolyte and other

flammable and toxic gases. It is known that rupturing cells release hydrogen gas,

carbon monoxide gas, and various other flammable and toxic gases. The

temperature of the ruptured cell can increase to above 1,832 degrees Fahrenheit.32

        91.   As the NHTSA Report stresses:

              [T]hermal runaway of a Lithium-ion cell is one of the
              fundamental failure mechanisms leading to safety hazards
              from Lithium-ion batteries. Cell heating is normal, but
              temperatures must be maintained within a predetermined
              safe operating level. Thermal runaway is most likely to be
              realized when an event occurs that results in rapid heating
              of the cell that outpaces the rate of heat dissipation by the
              cell. Rapid heating may be caused by internal or external


   30
       See id. at xvi; see also id. at Ch. 6 (management and control systems), 8-10
(testing, “gap assessments,” and “hazards, risks and risk mitigation strategies”).
    31
       Ex. 16, What is Thermal Runaway?, UNDERWRITERS LABORATORIES (Aug.
24, 2021), https://ul.org/what-we-do/electrochemical-safety/getting-started-
electrochemical-safety/what-thermal-runaway#:~:text= (last visited March 3,
2024).
    32
       Ex. 17, Alysha Liebscher and Gary Gayman, Preventing Thermal Runaway in
Electric Vehicle Batteries, MACHINE DESIGN (Dec. 26, 2018), https://www.machine
design.com/materials/article/21837402/preventing-thermal-runaway-in-electric-
vehicle-batteries (last visited March 3, 2024).


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              short circuits, overcharging, and general use [among other
              things.] [33]
As the Report further notes, “[t]he thermal and mechanical design of a cell strongly

influences its ability to control and dissipate heat, thereby influencing its safety

performance.”34

        92.   When thermal runaway spreads from one cell to adjacent cells in the

module, the result is what appears to be happening in the Class Vehicles—thermal

runaway propagation, causing spontaneous combustion even when the cars are

parked. In other words, “the rapid and extreme rise in temperature (thermal

runaway) can easily propagate to nearby cells in a domino effect that has been

dubbed thermal runaway propagation.”35 Fires and explosions then result.

        93.   Given the extreme hazards of runaway propagation in high-voltage

Lithium-ion batteries such as those used in the Class Vehicles, it is incumbent

upon manufacturers to incorporate strong safety measures and rigorous testing.

        94.   As the 2017 NHTSA report noted in a statement that has been

prophetic for Plaintiffs and all other owners and lessees of the Class Vehicles, as of

2017, car manufacturers were not adequately designing and testing electric and

plug-in-hybrid electric systems powered by highly volatile Lithium-ion batteries—



   33
      Ex. 4, 2017 NHTSA Report at 3.2.
   34
      Id.
   35
      Ex. 17.


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indeed, the “safety standards” employed by car manufactures such as FCA

appeared “to trail—rather than lead—technology development.”36

        95.   As of 2017, there were a good number of standards and testing

protocols designed to guide manufacturers in constructing Lithium-ion battery

systems to be safely used in electric and plug-in hybrid electric vehicles, and many

safety technologies and testing protocols existed at the time of the launch of the

Class Vehicles.37

        96.   Appropriate safety measures to prevent thermal runaway at the

cellular level included a range of “electrical components and subsystems to prevent

heating and overpressure to the cell by opening the circuit, increasing resistance, or

changing the chemical composition of the cell.”38

        97.   Protection technology at the module level also existed, including

technologies for “charge and discharge management,” designed to limit the electric

current to and from the battery module or cellular arrays within a module. Such

technologies also protect against the potential for abnormal discharge caused by

failures such as short circuiting, which can trigger thermal runaway and ultimately

runaway propagation.39



   36
      Ex. 4, 2017 NHTSA Report at 1-3.
   37
      See id. at 3-9 through 3-11, Ch. 8.
   38
      Id. at 3-10.
   39
      Id. at 4-6.


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        98.   Also at the module level, manufacturers must ensure adequate thermal

management to monitor and prevent the spikes in temperature associated with

thermal runaway. “Thermal management functions at the module level include,

first monitoring, then cooling,” and various available technologies serve this

function.40 Thermal management must also occur at the battery pack level in order

to maintain “an average temperature within the battery’s specifications, and with

even temperature distribution throughout the pack.”41 Cooling and thermal barrier

separation between cells can reduce the rate of thermal runaway propagation and

can stop cell-to-cell propagation for properly sized cells and cooling systems.

        99.   Other available safety features at the module level included “interlock

circuits, pressure sensors, and communication architecture that allows the battery

status to be monitored by the automobile electronic control unit.”42

        100. Other available safety measures operate at the battery pack level,

including (but not limited to) thermal management; an array of communication,

control, and reporting functions;43 and the appropriate integration of the battery

pack with the vehicle.44




   40
      Id. at 4-10 through 4-15.
   41
      Id. at 4-24.
   42
      Id. at 4-16 through 4-19.
   43
      Id. at 4-28.
   44
      Id. at 4-34.


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        101. On information and belief, any number of combinations of the above-

referenced safety protocols, in combination with effective safety testing, would

have rendered the Class Vehicles safe and fit for their intended purpose of

operating as plug-in hybrid electric vehicles.

        102. The dilemma facing electric and plug-in hybrid electric vehicles is

that incorporating adequate safety measures is not only expensive, but also “is

likely to reduce the vehicle’s range because any protective materials means less

space for the electricity-storing cells.”45 On information and belief, FCA skimped

on available protection measures in order to tout the high electric mode range and

overall range of the Class Vehicles—all to the benefit of FCA’s bottom line and to

the detriment of owners and lessees of the Class Vehicles.

        103. Regardless of the safety measures incorporated in the battery and

related components designed to prevent runaway propagation, before launching an

electric or plug-in hybrid electric vehicle, propagation testing is of the utmost

importance.46

        104. In addition to the 2017 NHTSA report, at the time of the launch of the

Class Vehicles, there were a wide array of standards and safety testing of Lithium-

ion batteries and vehicles that use them, including those promulgated by the


   45
     Ex. 17.
   46
     Ex. 4, 2017 NHTSA Report at 3-9 (discussing propagation testing circa
2014).


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Society for Automotive Engineers (SAE), the International Organization for

Standardization, Underwriters Laboratories, the Institute for Electrical and

Electronics Engineers, the United Nations Economic Commission for Europe, and

Sandia National Laboratories for the FreedomCAR program.47

         105. Many of these standards and testing protocols protect against runaway

propagation and the resulting catastrophe for vehicle owners and anyone or

anything in their vicinity.48

         106. These standards and testing protocols provided FCA with a wide

range of guidelines on design and laboratory testing considerations to ensure the

safety of Lithium-ion batteries in the Class Vehicles.

         107. On information and belief, any adequate testing of the Class Vehicle

would have revealed the Lithium-ion batteries’ propensity to spontaneously

combust as the result of runaway propagation. Either FCA followed these

standards and testing protocols and discovered the risk, or it failed to follow these

protocols.

               iii.   FCA launches the Class Vehicles, and fires result.

         108. Once FCA released the Class Vehicles into the market, owners and

lessees began complaining that their Class Vehicles suddenly caught fire. Between



   47
        Id. at 8-1.
   48
        See id. at Ch. 8.


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at least May and October 2023, no less than eight (8) Jeep 4xe’s spontaneously

caught fire all while parked and turned off.

        109. All vehicle manufacturers, including FCA, routinely monitor and

analyze NHTSA complaints to determine whether vehicles or components should

be recalled due to safety concerns. Thus, on information and belief, FCA has

knowledge of all NHTSA complaints filed concerning the vehicles it

manufacturers, including the Class Vehicles. See TREAD Act, Pub. L. No. 106-

414, 114 Stat. 1800 (2000).

        110. Complaints submitted to FCA and to NHTSA via Vehicle Owner

Questionnaires (“VOQ”) reveal multiple instances of Class Vehicles catching on

fire.

              iv.   FCA had actual and/or constructive knowledge of the Fire
                    Defect but was slow to recall the Class Vehicles and still has
                    not provided an actual fix to correct the defect.
        111. Despite FCA’s actual and/or constructive knowledge of the serious

risk of explosion and fire in the Class Vehicles, it did nothing to remedy the

problem or even warn consumers until many months later.

        112. According to a Part 573 Recall Report that FCA sent to NHTSA on

November 22, 2023, FCA’s Technical Safety and Regulatory Compliance

organization began investigating fire risk from the HV battery pack after receiving

numerous reports of spontaneous fires.



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      113. By October 2023, FCA had conducted “two vehicle buybacks and

have disassembled the HV battery packs. The modules and cells are undergoing

additional analysis.”

      114. Finally, on November 22, 2023, FCA’s Vehicle Regulations

Committee decided “to conduct a voluntary safety recall” of the Class Vehicles.

      115. However, in large part due to its slowness to even acknowledge the

issue, FCA is not yet offering any remedy for the defect. Instead, FCA continues to

advise the Class Vehicle owners and lessees “to refrain from recharging these

vehicles and not to park them inside of buildings or structures, or near other

vehicles until the vehicle has the final repair completed.” FCA does not explain

what could constitute a safe distance from an exploding car or what owners should

do with their vehicles if they have no such place to park them. FCA is likewise not

globally offering to buy back the vehicles or provide loaner or rental vehicles until

such time as it can fix the problem.

      116. In particular and as alleged herein, FCA’s failure to provide a recall

remedy leaves Class Vehicle owners facing three choices: follow FCA’s

instructions, if possible, at the great inconvenience of parking far from home and

the expense and environmental impact of additional consumption of gasoline;

ignore FCA’s instructions and risk calamity; or sell the vehicles at a substantial

loss as a result of FCA’s conduct.



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      117. Perhaps more commonly, many owners of Class Vehicles are simply

unable to find a “safe” place to park their vehicles at home, work, and/or anywhere

else they need to take their vehicles. This is especially true for owners who live in

apartments or densely populated urban areas, but also rural wooded areas with high

fire risk. Often, they have no choice but to park them in unsafe locations. Others,

faced with spiking fuel costs, simply cannot afford not to re-fuel them.

      118. All owners and lessees of the Class Vehicles have suffered

ascertainable loss in the form of greatly diminished value of their vehicles which

are not fit for their ordinary purposes, and excess fuel costs, among other things.

        VI.   DISCOVERY RULE TOLLING OF THE STATUTE OF
                          LIMITATIONS

      119. At the time that they purchased or leased their Class Vehicles,

Plaintiffs and class members could not have discovered through the exercise of

reaasonable diligence the existence of the Fire Defect or FCA’s conduct as

complained of herein.

      120. Because FCA itself claims it had no knowledge of the fire risk until at

the earliest November 2023 and/or concealed its knowledge regarding the

existence of the Fire Defect, class members had no way of knowing about the

unreasonable fire risk of the Class Vehicles.

      121. Plaintiffs and the other class members did not discover, and did not

know of, facts that would have caused a reasonable person to suspect that FCA did


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not report information within its knowledge to federal and state authorities, its

dealerships, or consumers; nor would a reasonable and diligent investigation have

disclosed that FCA had concealed information about the unreasonable fire risk of

the Class Vehicles, which was discovered by Plaintiffs only shortly before this

action was filed.

      122. For these reasons, all applicable statutes of limitation have been tolled

by operation of the discovery rule with respect to claims as to the Class Vehicles.

                         VII. CLASS ALLEGATIONS

      123. Plaintiffs bring this action on behalf of themselves and as a class

action, pursuant to the provisions of Rules 23(a) and (b)(3) of the Federal Rules of

Civil Procedure, on behalf of the following class and subclasses:

             Nationwide Class: All persons or entities who purchased or
             leased one or more model year 2021-2023 Jeep Wrangler 4xe
             vehicles (the “Class Vehicles”).
             Arizona Subclass: All persons or entities who purchased or
             leased one or more of the Class Vehicles in the State of Arizona.

             California Subclass: All persons or entities who purchased or
             leased one or more of the Class Vehicles in the State of
             California.

             Florida Subclass: All persons or entities who purchased or
             leased one or more of the Class Vehicles in the State of Florida.

             New Jersey Subclass: All persons or entities who purchased or
             leased one or more of the Class Vehicles in the State of New
             Jersey.




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             North Carolina Subclass: All persons or entities who purchased
             or leased one or more of the Class Vehicles in the State of North
             Carolina.

             Pennsylvania Subclass: All persons or entities who purchased
             or leased one or more of the Class Vehicles in the State of
             Pennsylvania.

             Texas Subclass: All persons or entities who purchased or leased
             one or more of the Class Vehicles in the State of Texas.

      124. Plaintiffs assert claims under the laws of each state set forth below.

      125. Excluded from the definitions of each Class and Subclass are any

personal injury or property damages claims resulting from the fires or explosions

caused by the Class Vehicles. Also excluded from the Class and Subclasses are

FCA and its subsidiaries and affiliates; all persons who make a timely election to

be excluded from this action; governmental entities; the Judge to whom this case is

assigned and his/her immediate family; and Plaintiffs’ Counsel. Plaintiffs reserve

the right to revise the Class and Subclass definitions based upon information

learned through discovery.

      126. Certification of Plaintiffs’ claims for class-wide treatment is

appropriate because Plaintiffs can prove the elements of their claims on a class-

wide basis using the same evidence as would be used to prove those elements in

individual actions alleging the same claim.




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      127. This action has been brought and may be properly maintained on

behalf of the Class and Subclasses proposed herein under Federal Rule of Civil

Procedure 23.

A.    Numerosity
      128. Federal Rule of Civil Procedure 23(a)(1): The members of each Class

and Subclass are so numerous and geographically dispersed that individual joinder

of all Class members is impracticable. For purposes of this complaint, Plaintiffs

allege that there are estimated to be over 32,000 Class Vehicles in the Nationwide

Class. The precise number of Class and Subclass members is unknown to Plaintiffs

but may be ascertained from FCA’s books and records. Class and Subclass

members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. Mail, electronic

mail, Internet postings, and/or published notice.

B.    Commonality and Predominance

      129. Federal Rule of Civil Procedure 23(a)(2) and 23(b)(3): This action

involves common questions of law and fact, which predominate over any questions

affecting individual Class and Subclass members, including, without limitation:

             a.    Whether FCA engaged in the conduct alleged herein;
             b.    Whether the Fire Defect creates an unreasonable risk of
                   fires in the Class Vehicles;
             c.    When FCA first knew about the Fire Defect;



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             d.    Whether FCA designed, manufactured, marketed, and
                   distributed the Class Vehicles with defective high-voltage
                   battery packs;

             e.    Whether any future FCA purported recall “repair” is a
                   bona fide repair of the faulty battery packs;
             f.    Whether FCA’s conduct renders it liable for breach of
                   warranties;
             g.    Whether FCA has been unjustly enriched at the expense of
                   Plaintiffs and the Class and Subclasses;

             h.    Whether Plaintiffs and the other Class and Subclass
                   members overpaid for their vehicles at the point of sale;
                   and
             i.    Whether Plaintiffs and the other Class and Subclass
                   members are entitled to damages and other monetary relief
                   and, if so, in what amount.

C.    Typicality
      130. Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims are typical

of the other Class and Subclass members’ claims because, among other things, all

Class and Subclass members were comparably injured through FCA’s wrongful

conduct as described above.

D.    Adequacy

      131. Federal Rule of Civil Procedure 23(a)(4): Plaintiffs are adequate Class

and Subclass representatives because their interests do not conflict with the

interests of the other members of the Class and Subclasses they seek to represent;

Plaintiffs have retained counsel competent and experienced in complex class action

litigation; and Plaintiffs intend to prosecute this action vigorously. The Class and


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Subclasses’ interests will be fairly and adequately protected by Plaintiffs and their

counsel.

E.    Superiority
      132. Federal Rule of Civil Procedure 23(b)(3): A class action is superior to

any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this

class action. The damages or other financial detriment suffered by Plaintiffs and

the other Class and Subclass members are relatively small compared to the burden

and expense that would be required to individually litigate their claims against

FCA, so it would be impracticable for the members of the Class and Subclasses to

individually seek redress for FCA’s wrongful conduct. Even if Class and Subclass

members could afford individual litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory

judgments and increases the delay and expense to all parties and the court system.

By contrast, the class action device presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.




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                         VIII. NATIONWIDE CLAIMS

                                   COUNT I
       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                           (15 U.S.C. § 2301, et seq.)
         (Alleged by all Plaintiffs on behalf of the Nationwide Class
                 or, in the alternative, the State Subclasses)

      133. Plaintiffs re-allege and incorporate by reference all paragraphs as

though fully set forth herein.

      134. Plaintiffs bring this claim on behalf of the Nationwide Class.

      135. This Court has jurisdiction to decide claims brought under 15 U.S.C.

§ 2301 by virtue of 28 U.S.C. § 1332(a)-(d).

      136. The Class Vehicles are “consumer products” within the meaning of

the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3). Plaintiffs and Nationwide

Class members are consumers because they are persons entitled under applicable

state law to enforce against the warrantor the obligations of its implied warranties.

      137. FCA is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

      138. 15 U.S.C. § 2301(d)(1) provides a cause of action for any consumer

who is damaged by the failure of a warrantor to comply with an implied warranty.

      139. FCA provided Plaintiffs and Nationwide Class members with an

implied warranty of merchantability in connection with the purchase or lease of

their vehicles that is an “implied warranty” within the meaning of the Magnuson-




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Moss Warranty Act, 15 U.S.C. § 2301(7). As part of the implied warranty of

merchantability, FCA warranted that the Class Vehicles engines were fit for their

ordinary purpose as safe plug-in hybrid electric motor vehicles and would pass

without objection in the trade as designed, manufactured, and marketed, and were

adequately contained, packaged, and labeled.

      140. FCA breached its implied warranties, as described in more detail

above, and is therefore liable to Plaintiffs pursuant to 15 U.S.C. § 2310(d)(1).

Without limitation, the Class Vehicles share a common defect in that they are all

equipped with a hybrid propulsion system that makes the vehicles susceptible to a

risk of spontaneous combustion, causing an unreasonable risk of death, serious

bodily harm, and/or property damage to lessees and owners of the Class Vehicles

as well as their homes, passengers, and bystanders. This defect rendered the Class

Vehicles, when sold or leased and at all times thereafter, unmerchantable and unfit

for their ordinary use of hybrid driving. In fact, as a result of the defect, FCA

specifically advised owners and lessees not to charge their batteries and not to

drive the Class Vehicles in electric mode.

      141. As discussed above, on information and belief, FCA skimped on

available safety technologies that would have precluded the Fire Defect, and,

through the sort of testing that any responsible vehicle manufacturer would have

done prior to launching the Class Vehicles, FCA knew or should have known of



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the defect. Yet, in order to pad its bottom line and launch the first-ever plug-in

hybrid electric vehicle with the highest possible electric and overall range, FCA

intentionally or recklessly foisted the outrageously dangerous Class Vehicles on

unwitting class members.

      142. Any effort by FCA to limit the implied warranties in a manner that

would exclude coverage of the Class Vehicles is unconscionable, and any such

effort to disclaim or otherwise limit such liability is null and void.

      143. Any limitations FCA might seek to impose on its warranties are

procedurally unconscionable. There was unequal bargaining power between FCA

and Plaintiffs, as, at the time of purchase and lease, Plaintiffs had no other options

for purchasing warranty coverage other than directly from FCA.

      144. Any limitations FCA might seek to impose on its warranties are

substantively unconscionable. FCA knew that the Class Vehicles were defective

and that the Class Vehicles could spontaneously ignite when used as intended long

before Plaintiffs and the Class. FCA failed to disclose this defect to Plaintiffs and

the Class. Thus, enforcement of the durational limitations on the warranties is

harsh and would shock the conscience.

      145. Plaintiffs have had sufficient direct dealings with either FCA or its

agents (dealerships) to establish privity of contract between FCA and Plaintiffs.

Nonetheless, privity is not required here because Plaintiffs are intended third-party



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beneficiaries of contracts between FCA and its dealers, and specifically, of FCA’s

implied warranties. The dealers were not intended to be the ultimate consumers of

the Class Vehicles and have no rights under the warranty agreements provided

with the Class Vehicles; the warranty agreements were designed for and intended

to benefit consumers. Finally, privity is also not required because the Class

Vehicles are dangerous instrumentalities due to the aforementioned defect, as

spontaneous fires present an unreasonable risk of death, serious bodily harm,

and/or property damage to lessees and owners of the Class Vehicles as well as their

homes, other nearby structures and vehicles, passengers, and bystanders.

      146. Pursuant to 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this

class action and are not required to give FCA notice and an opportunity to cure

until such time as the Court determines the representative capacity of Plaintiffs

pursuant to Rule 23 of the Federal Rules of Civil Procedure.

      147. Plaintiffs would suffer economic hardship if they returned their Class

Vehicles but did not receive the return of all payments made by them. Because

FCA will not acknowledge any revocation of acceptance and immediately return

any payments made, Plaintiffs have not re-accepted their Class Vehicles by

retaining them.

      148. The amount in controversy of Plaintiffs’ individual claims meets or

exceeds the sum of $25. The amount in controversy of this action exceeds the sum



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of $50,000, exclusive of interest and costs, computed on the basis of all claims to

be determined in this lawsuit. Plaintiffs, individually and on behalf of all other

Nationwide Class members, seek all damages permitted by law, including

diminution in value of their vehicles, in an amount to be proven at trial. In

addition, pursuant to 15 U.S.C. § 2310(d)(2), Plaintiffs are entitled to recover a

sum equal to the aggregate amount of costs and expenses (including attorneys’ fees

based on actual time expended) determined by the Court to have reasonably been

incurred by Plaintiffs and the Nationwide Class members in connection with the

commencement and prosecution of this action.

       149. Plaintiffs also seek the establishment of an FCA-funded program for

Plaintiffs and Nationwide Class members to recover out-of-pocket costs incurred

in attempting to rectify and/or mitigate the effects of the hybrid propulsion system

defect in their Class Vehicles.

                       IX.       STATE-SPECIFIC CLAIMS
A.     Arizona

                                    COUNT II
                   BREACH OF IMPLIED WARRANTY OF
               MERCHANTABILITY UNDER ARIZONA LAW
                            (Ariz. Rev. Stat. § 47-2314)
     (Alleged by Plaintiffs Frisch, Otto, and Stueve on behalf of the Arizona
                                     Subclass)

       150. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.



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      151. Plaintiffs Frisch, Otto, and Stueve (“Plaintiffs,” for purposes of the

Arizona claims) bring this claim on behalf of themselves and the Arizona Subclass

(“Subclass,” for purposes of the Arizona claims).

      152. FCA is and was at all relevant times a merchant with respect to motor

vehicles under Ariz. Rev. Stat. § 47-2014.

      153. Under Arizona law, an implied warranty of merchantability attaches

to the Class Vehicles. Ariz. Rev. Stat. § 47-2314.

      154. The Class Vehicles were not merchantable when sold or leased

because their hybrid propulsion systems are prone to spontaneous combustion, and

pose an unreasonable risk of fires due to their spontaneous fire risk as described

herein. Without limitation, the Class Vehicles share a common defect in that they

are all equipped with a hybrid propulsion system that makes the vehicles

susceptible to a risk of spontaneous combustion, causing an unreasonable risk of

death, serious bodily harm, and/or property damage to lessees and owners of the

Class Vehicles as well as their homes, passengers, and bystanders. This defect

renders the Class Vehicles when sold/leased and at all times thereafter,

unmerchantable and unfit for their ordinary use of driving. In fact, as a result of the

defect, FCA specifically advises owners and lessees not to charge their batteries

and not to drive the Class Vehicles in electric mode.




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      155. Plaintiffs and Subclass members were and are third-party beneficiaries

of FCA’s contracts with FCA-certified/authorized retailers who sold or leased the

Class Vehicles to Plaintiff and Arizona Subclass members.

      156. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiffs and Arizona Subclass members have been

damaged in an amount to be determined at trial.

                                   COUNT III
             VIOLATIONS OF THE CONSUMER FRAUD ACT
                       (Ariz. Rev. Stat. § 44-1521, et seq.)
    (Alleged by Plaintiffs Frisch, Otto, and Stueve on behalf of the Arizona
                                    Subclass)

      157. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      158. Plaintiffs Frisch, Otto, and Stueve (“Plaintiffs,” for purposes of the

Arizona claims) bring this claim on behalf of themselves and the Arizona Subclass

(“Subclass,” for purposes of the Arizona claims).

      159. FCA, Plaintiffs, and the Subclass are “persons” within the meaning of

the Arizona Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-1521(6).

      160. The Class Vehicles are “merchandise” within the meaning of Ariz.

Rev. Stat. § 44-1521(5).

      161. FCA’s actions, as set forth above, occurred in the conduct of trade or

commerce.



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      162. The Arizona CFA provides that “[t]he act, use or employment by any

person of any deception, deceptive act or practice, fraud, … misrepresentation, or

concealment, suppression or omission of any material fact with intent that others

rely upon such concealment, suppression or omission, in connection with the sale

… of any merchandise whether or not any person has in fact been misled, deceived

or damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-

1522(A).

      163. FCA’s actions, as set forth above, occurred in the conduct of trade or

commerce.

      164. In the course of its business, FCA concealed and/or failed to dislcose

the Fire Defect in the Class Vehicles as described herein and otherwise engaged in

activities with a tendency or capacity to deceive. FCA also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, concealment, suppression, or omission of a material fact with

intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Class Vehicles.

      165. By failing to disclose and actively concealing the Fire Defect in the

Class Vehicles, which it marketed as safe, reliable, of high quality, and fit for use

as plug-in hybrid electric vehicles, FCA engaged in unfair and deceptive business

practices in violation of the Arizona CFA.



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       166. In the course of FCA’s business, it willfully failed to disclose and

actively concealed the dangerous risk posed by the defects in the Class Vehicles.

       167. FCA’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiffs and Subclass members,

about the true safety and reliability of their vehicles.

       168. FCA intentionally and knowingly misrepresented material facts

regarding the Class Vehicles with the intent to mislead Plaintiffs and the Subclass.

       169. FCA knew or should have known that its conduct violated the Arizona

CFA.

       170. As alleged above, FCA made material statements about the safety and

reliability of the Class Vehicles when operating as plug-in hybrid electric vehicles

that were either false or misleading.

       171. FCA owed Plaintiffs and the Subclass a duty to disclose the true

safety and reliability of the Class Vehicles because FCA:

             a.     Possessed exclusive knowledge about the Fire Defect;

             b.     Intentionally concealed the foregoing from Plaintiffs and
                    the Subclass;

             c.     Made incomplete representations about the safety and
                    reliability of the Class Vehicles, while purposefully
                    withholding material facts from Plaintiffs and the Subclass
                    that contradicted these representations; and/or

             d.     Had duties under the TREAD Act and related regulations
                    to disclose and remedy the defect.



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          172. Because FCA fraudulently concealed the Fire Defect, as well as the

true nature of the Class Vehicles, Plaintiffs were deprived of the benefit of their

bargain because the vehicle they purchased was worth less than it would have been

if it were free from defects. Had Plaintiffs been aware of the defects in the vehicle,

they would not have bought or leased thei Class Vehicles or would have paid less

for it.

          173. FCA’s concealment and/or failure to disclose the defects in the Class

Vehicles was material to Plaintiffs and the Subclass.

          174. Plaintiffs and the Subclass suffered ascertainable loss caused by

FCA’s misrepresentations and its concealment of and failure to disclose the Fire

Defect. Plaintiffs and Subclass members either would have paid less for their

vehicles or would not have purchased or leased them at all.

          175. FCA’s violations present a continuing risk to Plaintiffs and the

Subclass as well as to the general public. In particular and as alleged herein, FCA

has yet to offer any fix for the Class Vehicles. FCA’s unlawful acts and practices

complained of herein affect the public interest.

          176. As a direct and proximate result of FCA’s violations of the Arizona

CFA, Plaintiffs and the Subclass have suffered injury-in-fact and/or actual damage

as alleged above.




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      177. Plaintiffs seek monetary relief against FCA in an amount to be

determined at trial. Plaintiffs also seek punitive damages because FCA engaged in

aggravated and outrageous conduct with an evil mind.

      178. Plaintiffs also seek an order enjoining FCA’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and

proper relief available under the Arizona CFA.

                                   COUNT IV
                            UNJUST ENRICHMENT
                               (COMMON LAW)
                  (Alleged by Plaintiffs Frisch, Otto, and Stueve
                        on behalf of the Arizona Subclass)

      179. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      180. Plaintiffs Frisch, Otto, and Stueve (“Plaintiffs,” for purposes of the

Arizona claims) bring this claim on behalf of themselves and the Arizona Subclass

(“Subclass,” for purposes of the Arizona claims).

      181. FCA has benefitted from selling, leasing, and distributing the Class

Vehicles for more than they were worth as a result of FCA’s conduct, and

Plaintiffs and Subclass members have overpaid for the Class Vehicles and been

forced to pay other costs.

      182. Thus, Plaintiffs and the Subclass conferred a benefit on FCA.

      183. It is inequitable for FCA to retain these benefits.



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          184. Plaintiffs and the Subclass were not aware of the true facts about the

Class Vehicles and did not benefit from FCA’s conduct.

          185. FCA knowingly accepted the benefits of its unjust conduct.

          186. As a result of FCA’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.

B.        California
                                     COUNT V
                       VIOLATION OF THE CALIFORNIA
                      CONSUMER LEGAL REMEDIES ACT
                           (Cal. Civ. Code § 1750, et seq.)
           (Alleged by Plaintiff Kreb on behalf of the California Subclass)
          187. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

          188. Plaintiff Kreb (“Plaintiff,” for purposes of the California claims)

brings this claim on behalf of himself and the California Subclass (“Subclass,” for

purposes of the California claims) for injunctive and equitable relief.49

          189. FCA is a person as defined in California Civil Code § 1761(c).

          190. Plaintiff and the California Subclass members are consumers as

defined in California Civil Code § 1761(d).




     49
     Pursuant to California Civil Code § 1780(d), Plaintiff Kreb has provided a
declaration attesting to the venue for this claim. See Ex. 18.


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       191. Defendants engaged in unfair and deceptive acts in violation of the

California Consumer Legal Remedies Act (CLRA) through the practices described

herein, and by knowingly and intentionally concealing the Fire Defect in the Class

Vehicles, as well as the true nature of the Class Vehicles, from Plaintiff and

California Subclass members, along with concealing the risks, costs, and monetary

damage resulting from the defect. These acts and practices violate, at a minimum,

the following sections of the CLRA: (a)(2) misrepresenting the source,

sponsorship, approval, or certification of goods or services; (a)(5) representing that

goods or services have sponsorships, characteristics, uses, benefits, or quantities

which they do not have, or that a person has a sponsorship, approval, status,

affiliation, or connection which he or she does not have; (a)(7) representing that

goods or services are of a particular standard, quality, or grade, or that goods are of

a particular style or model, if they are of another; and (a)(9) advertising goods and

services with the intent not to sell them as advertised.

       192. FCA’s unfair and deceptive acts or practices occurred repeatedly in its

trade or business, were capable of deceiving a substantial portion of the purchasing

public, and imposed a serious safety risk to the public.

       193. FCA knew the Class Vehicles were defectively designed and/or

manufactured, were prone to cause fires, and were not suitable for their intended

use.



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      194. In the course of its business, FCA concealed and/or failed to disclose

the Fire Defect in the Class Vehicles, as well as the true nature of the Class

Vehicles, and its failure to adequately design and test the vehicles to ensure their

safety as described herein and otherwise engaged in activities with a tendency or

capacity to deceive. FCA also engaged in unlawful trade practices by employing

deception, deceptive acts or practices, fraud, misrepresentations, concealment,

suppression, or omission of any material fact with intent that others rely upon such

concealment, suppression, or omission, in connection with the sale of the Class

Vehicles.

      195. FCA had a duty to Plaintiff and Subclass members to disclose the

defective nature of the Class Vehicles because:

                    FCA was in a superior position to know the true state of
                    facts about the Fire Defect and associated risks of
                    spontaneous combustion in the Class Vehicles, and the
                    defect affects a core function of the Class Vehicle;

                    Plaintiff and Subclass members could not reasonably have
                    been expected to learn or discover that the Class Vehicles
                    had a dangerous safety defect until repeated fires forced
                    FCA to finally issue the recall without a remedy;
                    FCA knew that Plaintiff and Subclass members could not
                    reasonably have been expected to learn or discover the
                    Fire Defect and the catastrophic consequences thereof
                    until repeated fires forced FCA to finally disclose the risk;
                    and

                    FCA actively concealed the defect and the consequences
                    thereof by knowingly failing to recall the Class Vehicles
                    at an earlier date.


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      196. In failing to disclose the Fire Defect and the associated safety risks

and repair costs that result from it, FCA has knowingly and intentionally concealed

material facts and breached its duty to disclose.

      197. The facts concealed or not disclosed by FCA to Plaintiff and Subclass

members are material in that a reasonable consumer would have considered them

important in deciding whether to purchase the Class Vehicles or to pay a lesser

price. Had Plaintiff and the Subclass members known about the defective nature of

the Class Vehicles, they would not have purchased or leased the Class Vehicles or

would have paid less for them.

      198. FCA’s violations present a continuing risk to Plaintiff as well as the

general public. In particular and as alleged herein, FCA’s failure to provide a recall

remedy leaves Class Vehicle owners facing three choices: follow FCA’s

instructions, if possible, at the great inconvenience of parking far from home and

the expense and environmental impact of additional consumption of gasoline;

ignore FCA’s instructions and risk calamity; or sell the vehicles at a substantial

loss as a result of FCA’s conduct. FCA’s unlawful acts and practices complained

of herein affect the public interest.

      199. FCA is on notice of the issues raised in this count and this Complaint

by way of investigations conducted by governmental regulators, complaints from

consumers, and FCA’s own testing. Counsel for Plaintiff has also sent a notice



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letter to FCA in accordance with California Civil Code § 1782(a) of the CLRA,

notifying FCA of their alleged violations of California Civil Code § 1770(a) and

demanding that FCA correct or agree to correct the actions described therein

within thirty (30) days of the notice letter. If FCA fails to do so, Plaintiff will

amend this Complaint as of right (or otherwise seek leave to amend the Complaint)

to include compensatory and monetary damages to which Plaintiff and the

Subclass are entitled under the CLRA.

                                COUNT VI
  VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                     (Cal. Bus. & Prof. Code § 17200)
      (Alleged by Plaintiff Kreb on behalf of the California Subclass)

      200. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      201. Plaintiff Kreb (“Plaintiff,” for purposes of the California claims)

brings this claim on behalf of himself and the California Subclass (“Subclass,” for

purposes of the California claims).

      202. The California Unfair Competition Law (“UCL”) prohibits acts of

“unfair competition,” including any “unlawful, unfair or fraudulent business act or

practice” and “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. &

Prof. Code § 17200.

      203. In the course of its business, FCA concealed and/or failed to disclose

the Fire Defect in the Class Vehicles, as well as true nature of the Class Vehicles,


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and its failure to adequately design and test the vehicles to ensure their safety as

described herein and otherwise engaged in activities with a tendency or capacity to

deceive. FCA also engaged in unlawful trade practices by employing deception,

deceptive acts or practices, fraud, misrepresentations, or concealment, suppression,

or omission of material facts with intent that others rely upon such concealment,

suppression, or omission, in connection with the sale of the Class Vehicles.

      204. FCA engaged in unfair competition and unfair, unlawful, or

fraudulent business practices through the conduct, statements, and omissions

described herein, and by knowingly and intentionally concealing the Fire Defect in

the Class Vehicles, as well as the true nature of the Class Vehicles, from Plaintiff

and Subclass members, along with concealing the risks, costs, and monetary

damage resulting from the defect. FCA should have disclosed this information

because it was in a superior position to know the true facts related to the Fire

Defect, and Plaintiff and Subclass members could not reasonably be expected to

learn or discover the true facts related to the Fire Defect.

      205. The Fire Defect causes catastrophic fires in the Class Vehicles, and

this constitutes a safety issue that triggered FCA’s duty to disclose the safety issue

to consumers.

      206. FCA’s acts and practices deceived Plaintiff and are likely to deceive

the public. In failing to disclose the Fire Defect and suppressing other material



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facts from Plaintiff and Subclass members, FCA breached its duty to disclose these

facts, violated the UCL, and caused injuries to Plaintiff and Subclass members.

FCA’s omissions and concealment concerned information that was material to

Plaintiff and Subclass members, as it would have been to all reasonable consumers.

      207. The injuries suffered by Plaintiff and Subclass members are not

greatly outweighed by any potential countervailing benefit to consumers or to

competition, nor are the injuries that Plaintiff and Subclass members could or

should have reasonably avoided.

      208. FCA’s acts and practices are unlawful because they violate California

Civil Code §§ 1668, 1709, 1710, and 1750, et seq., and California Commercial

Code § 2313. FCA knew or should have known its conduct violated the UCL.

      209. Plaintiff and Subclass members have suffered an injury in fact,

including the loss of money or property, because of FCA’s unfair, unlawful, and

deceptive practices.

      210. Plaintiff seeks to enjoin further unlawful, unfair, and fraudulent acts

or practices by FCA, to obtain restitutionary disgorgement of all monies and

revenues generated because of such practices, and all other relief allowed under

California Business & Professions Code § 17200.




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                                COUNT VII
      VIOLATIONS OF CALIFORNIA FALSE ADVERTISING LAW
                  (Cal. Bus. & Prof. Code § 17500, et seq.)
       (Alleged by Plaintiff Kreb on behalf of the California Subclass)

      211. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      212. Plaintiff Kreb (“Plaintiff,” for purposes of the California claims)

brings this claim on behalf of himself and the California Subclass (“Subclass,” for

purposes of the California claims).

      213. California Business & Professions Code § 17500 states: “It is

unlawful for any … corporation … with intent directly or indirectly to dispose of

real or personal property … to induce the public to enter into any obligation

relating thereto, to make or disseminate or cause to be made or disseminated …

from this state before the public in any state, in any newspaper or other

publication, or any advertising device, … or in any other manner or means

whatever, including over the Internet, any statement … which is untrue or

misleading, and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.”

      214. FCA caused to be made or disseminated through California and the

United States, through advertising, marketing and other publications, statements

that were untrue or misleading, and which were known, or through the exercise of




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reasonable care should have been known to FCA, to be untrue and misleading to

consumers, including Plaintiff and the Subclass members.

      215. FCA violated California Business & Professions Code § 17500

because its misrepresentations and omissions regarding the safety, reliability, and

functionality of the Class Vehicles as plug-in hybrid electric vehicles as described

herein were material, untrue, and misleading, and likely to deceive a reasonable

consumer.

      216. Plaintiff and Subclass members have suffered an injury in fact,

including the loss of money or property, because of FCA’s deceptive advertising.

In purchasing or leasing their Class Vehicles, Plaintiff and Subclass members

relied on FCA’s misrepresentations and omissions regarding the safety, reliability,

and functionality of the vehicles. FCA’s representations and omissions were untrue

because the Class Vehicles were sold or leased with a defective hybrid propulsion

system. Had Plaintiff and the Subclass members known this, they would not have

purchased or leased their Class Vehicles or paid as much for them. Accordingly,

Plaintiff and the Subclass members overpaid for their Class Vehicles and did not

receive the benefit of their bargain.

      217. All the wrongful conduct alleged herein occurred, and continues to

occur, in the conduct of FCA’s business. FCA’s wrongful conduct is part of a




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pattern or generalized course of conduct that is still perpetuated and repeated, both

in California and nationwide.

      218. Plaintiff, individually and on behalf of the Subclass members,

requests this Court enter such orders or judgments as necessary to enjoin FCA

from continuing its unlawful and deceptive advertising, to restore to Plaintiff and

the Subclass members any money FCA acquired by its deceptive advertising,

including restitution and restitutionary disgorgement, and for such other relief as is

permitted.

                                 COUNT VIII
       VIOLATION OF SONG-BEVERLY CONSUMER WARRANTY
             ACT FOR BREACH OF IMPLIED WARRANTY OF
            MERCHANTABILITY UNDER CALIFORNIA LAW
                      (Cal. Civ. Code §§ 1791.1 & 1792)
        (Alleged by Plaintiff Kreb on behalf of the California Subclass)

      219. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      220. Plaintiff Kreb (“Plaintiff,” for purposes of the California claims)

brings this claim on behalf of himself and the California Subclass (“Subclass,” for

purposes of the California claims).

      221. Plaintiff and the Subclass members are “buyers” within the meaning

of California Civil Code § 1791(b).

      222. The Class Vehicles are “consumer goods” within the meaning of

California Civil Code § 1791(a).


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      223. FCA is the “manufacturer” of the Class Vehicles within the meaning

of California Civil Code § 1791(j).

      224. FCA impliedly warranted to Plaintiff and the Subclass that the Class

Vehicles were “merchantable” within the meaning of California Civil Code

§§ 1791.1(a) & 1792; however, the Class Vehicles do not have the quality that a

buyer would reasonably expect, and were therefore not merchantable.

      225. California Civil Code § 1791.1(a) states:

             “Implied warranty of merchantability” or “implied
             warranty that goods are merchantable” means that the
             consumer goods meet each of the following:

             (1)   Pass without objection in the trade under the
                   contract description.

             (2)   Are fit for the ordinary purposes for which such
                   goods are used.
             (3)   Are adequately contained, packaged, and labeled.

             (4)   Conform to the promises or affirmations of fact
                   made on the container or label.
      226. The Class Vehicles were not merchantable when sold or leased

because their hybrid propulsion systems are prone to spontaneous combustion and

pose an unreasonable risk of fires due to the Fire Defect as described herein.

Without limitation, the Class Vehicles share a common defect in that they are all

equipped with a hybrid propulsion system that makes the vehicles susceptible to a

risk of spontaneous combustion, causing an unreasonable risk of death, serious



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bodily harm, and/or property damage to lessees and owners of the Class Vehicles

as well as their homes, passengers, and bystanders. This defect renders the Class

Vehicles when sold or leased and at all times thereafter, unmerchantable and unfit

for their ordinary use of driving. In fact, as a result of the defect, FCA specifically

advises owners and lessees not to charge their batteries, not to drive the Class

Vehicles in electric mode, and not to park the vehicles in the vicinity of their

homes or other vehicles.

      227. FCA breached the implied warranty of merchantability by selling

Class Vehicles containing defects leading to the sudden combustion of the vehicles

during ordinary operating conditions, or while parked. This defect has deprived

Plaintiff and the Subclass members of the benefit of their bargain.

      228. Notice of breach is not required because Plaintiff and the Subclass did

not purchase their automobiles directly from FCA. Regardless, Plaintiffs’ counsel

sent notification to FCA prior to filing this Complaint.

      229. Plaintiff and the other Subclass members were and are third-party

beneficiaries to FCA’s contracts with FCA-certified/authorized retailers who sold

or leased the Class Vehicles to Plaintiff and Subclass members.

      230. As a direct and proximate result FCA’s breach of the implied

warranty of merchantability, Plaintiff and the Subclass members received goods

whose dangerous condition now renders them at least partially inoperable and



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substantially impairs their value. Plaintiff and the Subclass members have been

damaged as they overpaid for their vehicles, and now suffer the partial or complete

loss of use of their Class Vehicles.

      231. Under California Civil Code §§ 1791.1(d) & 1794, Plaintiff and the

Subclass members are entitled to damages and other legal and equitable relief

including, at their election, the purchase price of their Class Vehicles, or the

overpayment or diminution in value of their Class Vehicles.

      232. Under California Civil Code § 1794, Plaintiff and the Subclass

members are entitled to costs and attorneys’ fees.

                                  COUNT IX
                           UNJUST ENRICHMENT
                               (COMMON LAW)
        (Alleged by Plaintiff Kreb on behalf of the California Subclass)

      233. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      234. Plaintiff Kreb (“Plaintiff,” for purposes of the California claims)

brings this claim on behalf of himself and the California Subclass (“Subclass,” for

purposes of the California claims).

      235. FCA has received and retained a benefit from Plaintiff and Subclass

members and inequity has resulted.

      236. FCA has benefitted from selling, leasing, and distributing the Class

Vehicles for more than they were worth as a result of FCA’s conduct, and Plaintiff


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and Subclass members have overpaid for the Class Vehicles and been forced to pay

other costs.

      237. Thus, Plaintiff and the Subclass conferred a benefit on FCA.

      238. It is inequitable for FCA to retain these benefits.

      239. Plaintiff and the Subclass were not aware of the true facts about the

Class Vehicles and did not benefit from FCA’s conduct.

      240. FCA knowingly accepted the benefits of its unjust conduct.

      241. As a result of FCA’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.

C.    Florida

                                   COUNT X
                  VIOLATION OF FLORIDA’S UNFAIR &
                  DECEPTIVE TRADE PRACTICES ACT
                          (Fla. Stat. § 501.201, et seq.)
        (Alleged by Plaintiff Vasquez on behalf of the Florida Subclass)
      242. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      243. Plaintiff Vasquez (“Plaintiff,” for purposes of the Florida claims)

brings this claim on behalf of himself and the Florida Subclass (“Subclass,” for

purposes of the Florida claims).




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      244. Plaintiff and the Subclass are “consumers” within the meaning of the

Florida Unfair and Deceptive Trade Practices Act (“FUDTPA”), Florida Statute

§ 501.203(7).

      245. FCA engaged in “trade or commerce” within the meaning of Florida

Statute § 501.203(8).

      246. The FUDTPA prohibits “[u]nfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce .…” Fla. Stat. § 501.204(1). By concealing the

Fire Defect in the Class Vehicles, FCA participated in unfair and deceptive trade

practices that violated the FUDTPA as described herein.

      247. FCA’s actions, as set forth above, occurred in the conduct of trade or

commerce.

      248. In the course of its business, FCA concealed and/or failed to disclose

the Fire Defect in the Class Vehicles as described herein and otherwise engaged in

activities with a tendency or capacity to deceive. FCA also engaged in unlawful

trade practices by employing deception, deceptive acts or practices, fraud,

misrepresentations, or concealment, suppression, or omission of a material fact

with intent that others rely upon such concealment, suppression, or omission, in

connection with the sale of the Class Vehicles.




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      249. By failing to disclose and/or actively concealing the Fire Defect in the

Class Vehicles, which it marketed as safe, reliable, of high quality, and fit for use

as plug-in hybrid electric vehicles, FCA engaged in unfair and deceptive business

practices in violation of the FUDTPA.

      250. In the course of FCA’s business, it willfully failed to disclose and

actively concealed the dangerous risk posed by the defects in the Class Vehicles.

      251. FCA’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiff and Subclass members,

about the true safety and reliability of their vehicles.

      252. FCA intentionally and knowingly misrepresented material facts

regarding the Class Vehicles with the intent to mislead Plaintiff and the Subclass.

      253. FCA knew or should have known that its conduct violated the

FUDTPA.

      254. As alleged above, FCA made material statements about the safety and

reliability of the Class Vehicles when operating as plug-in hybrid electric vehicles

that were either false or misleading.

      255. FCA owed Plaintiff and the Subclass a duty to disclose the true safety

and reliability of the Class Vehicles because FCA:

             a.     Possessed exclusive knowledge about the Fire Defect;
             b.     Intentionally concealed the foregoing from Plaintiff and
                    the Subclass;


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             c.     Made incomplete representations about the safety and
                    reliability of the Class Vehicles, while purposefully
                    withholding material facts from Plaintiff and the Subclass
                    that contradicted these representations; and/or

             d.     Had duties under the TREAD Act and related regulations
                    to disclose and remedy the defect.

      256. Because FCA fraudulently concealed the Fire Defect, as well as the

true nature of the Class Vehicles, Plaintiff and Class Members were deprived of

the benefit of their bargain since the vehicles they purchased were worth less than

they would have been if they were free from defects. Had Plaintiff and the other

Subclass members been aware of the defect in their Class Vehicles, they would not

have bought or leased the Class Vehicles or would have paid less for them.

      257. FCA’s concealment of the defects in the Class Vehicles was material

to Plaintiff and the Subclass.

      258. Plaintiff and the Subclass suffered ascertainable loss caused by FCA’s

misrepresentations and its concealment of and failure to disclose Fire Defect.

Plaintiff and Subclass members either would have paid less for the Class Vehicles

or would not have purchased or leased them at all.

      259. FCA’s violations present a continuing risk to Plaintiff and the

Subclass as well as to the general public. In particular and as alleged herein, FCA

has yet to offer any fix for the Class Vehicles. FCA’s unlawful acts and practices

complained of herein affect the public interest.




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      260. As a direct and proximate result of FCA’s violations of the FUDTPA,

Plaintiff and the Subclass have suffered injury-in-fact and/or actual damage as

alleged above.

      261. Plaintiff and the Subclass are entitled to recover their actual damages

under Florida Statute § 501.211(2) and attorneys’ fees under Florida Statute

§ 501.2105(1).

      262. Plaintiff also seeks an order enjoining FCA’s unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and

proper relief available under the FUDTPA.

                                   COUNT XI
                  BREACH OF IMPLIED WARRANTY OF
              MERCHANTABILITY UNDER FLORIDA LAW
                              (Fla. Stat. § 672.314)
        (Alleged by Plaintiff Vasquez on behalf of the Florida Subclass)

      263. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      264. Plaintiff Vasquez (“Plaintiff,” for purposes of the Florida claims)

brings this claim on behalf of himself and the Florida Subclass (“Subclass,” for

purposes of the Florida claims).

      265. FCA is a “merchant” within the meaning of Florida Statute § 672.104,

and a “seller” of motor vehicles within the meaning of Florida Statute

§ 672.103(d).



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      266. Under Florida law, an implied warranty of merchantability attaches to

the Class Vehicles. Fla. Stat. § 672.314.

      267. The Class Vehicles were not merchantable when sold or leased

because their hybrid propulsion systems are prone to spontaneous combustion and

pose an unreasonable risk of fires due to the Fire Defect as described herein.

Without limitation, the Class Vehicles share a common defect in that they are all

equipped with a hybrid propulsion system that makes the vehicles susceptible to a

risk of spontaneous combustion, causing an unreasonable risk of death, serious

bodily harm, and/or property damage to lessees and owners of the Class Vehicles

as well as their homes, passengers, and bystanders. This defect renders the Class

Vehicles when sold/leased and at all times thereafter, unmerchantable and unfit for

their ordinary use of driving. In fact, as a result of the defect, FCA specifically

advises owners and lessees not to charge their batteries and not to drive the Class

Vehicles in electric mode.

      268. Plaintiff and Subclass members were and are third-party beneficiaries

of FCA’s contracts with FCA-certified/authorized retailers who sold or leased the

Class Vehicles to Plaintiffs and Subclass members. See Fla. Stat. § 672.318.

      269. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiffs and Subclass members have been damaged

in an amount to be determined at trial.



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                                  COUNT XII
                           UNJUST ENRICHMENT
                               (COMMON LAW)
        (Alleged by Plaintiff Vasquez on behalf of the Florida Subclass)

      270. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      271. Plaintiff Vasquez (“Plaintiff,” for purposes of the Florida claims)

brings this claim on behalf of himself and the Florida Subclass (“Subclass,” for

purposes of the Florida claims).

      272. FCA has received and retained a benefit from Plaintiff and Subclass

members and inequity has resulted.

      273. FCA has benefitted from selling, leasing, and distributing the Class

Vehicles for more than they were worth as a result of FCA’s conduct, and Plaintiff

and Subclass members have overpaid for the Class Vehicles and been forced to pay

other costs.

      274. Thus, Plaintiff and the Subclass conferred a benefit on FCA.

      275. It is inequitable for FCA to retain these benefits.

      276. Plaintiff and the Subclass were not aware of the true facts about the

Class Vehicles and did not benefit from FCA’s conduct.

      277. FCA knowingly accepted the benefits of its unjust conduct.

      278. As a result of FCA’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.


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D.    New Jersey

                                   COUNT XIII
         VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT
                         (N.J. Stat. Ann. § 56:8-1, et seq.)
  (Alleged by Plaintiffs Jade and Christopher Wadleigh on behalf of the New
                                 Jersey Subclass)

      279. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      280. Plaintiffs Jade and Christopher Wadleigh (“Plaintiffs,” for purposes of

the New Jersey claims) brings this claim on behalf of themselves and the New

Jersey Subclass (“Subclass,” for purposes of the New Jersey claims).

      281. FCA and Plaintiffs are and were “persons” within the meaning of

New Jersey Statutes Annotated § 56:8-1(d).

      282. FCA engaged in “sales” of “merchandise” within the meaning of New

Jersey Statutes Annotated § 56:8-1(c), (d).

      283. FCA’s actions, as set forth above, occurred in the conduct of trade or

commerce.

      284. The New Jersey Consumer Fraud Act (“New Jersey CFA”) makes

unlawful “[t]he act, use or employment by any person of any unconscionable

commercial practice, deception, fraud, false pretense, false promise,

misrepresentation, or the knowing concealment, suppression, or omission of any

material fact with the intent that others rely upon such concealment, suppression,




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or omission, in connection with the sale or advertisement of any merchandise or

real estate, or with the subsequent performance of such person as aforesaid,

whether or not any person has in fact been misled, deceived or damaged

thereby…” N.J. Stat. Ann. § 56:8-2. FCA engaged in unconscionable or deceptive

acts or practices that violated the New Jersey CFA as described above and below

and did so with the intent that Plaintiffs and the Subclass rely upon their acts,

concealment, suppression or omissions.

      285. In the course of FCA’s business, it willfully failed to disclose and

actively concealed the dangerous risk posed by the defects in the Class Vehicles.

      286. FCA’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers, including Plaintiffs and the Subclass, about the

true safety and reliability of their vehicles.

      287. FCA misrepresented material facts regarding the Class Vehicles with

the intent to mislead Plaintiffs and the Subclass.

      288. FCA knew or should have known that its conduct violated the New

Jersey CFA.

      289. As alleged above, FCA made material statements about the safety and

reliability of the Class Vehicles and their ability to operate as plug-in hybrid

vehicles that were either false or misleading.




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      290. FCA owed Plaintiffs and the Subclass a duty to disclose the true

safety and reliability of the Class Vehicles because FCA:

             a.    Possessed exclusive knowledge about the Fire Defect in
                   the Class Vehicles;

             b.    Intentionally concealed the foregoing from Plaintiffs and
                   the Subclass;

             c.    Made incomplete representations about the safety and
                   reliability of the Class Vehicles, while purposefully
                   withholding material facts from Plaintiffs and the Subclass
                   that contradicted these representations; and/or
             d.    Had duties under the TREAD Act and related regulations
                   to disclose and remedy the defects well prior to the issue
                   of its confounding recall notice in 2023.

      291. Because FCA fraudulently concealed the Fire Defect, as well as the

true nature of the Class Vehicles, Plaintiffs and the Subclass were deprived of the

benefit of their bargain since the vehicles they purchased were worth less than they

would have been if they were free from the known serious safety defect. Had Class

Vehicle owners been aware of the defects in their vehicles, they would not have

bought their vehicles or would have paid less for them.

      292. FCA’s concealment of the defect in the Class Vehicles was material to

Plaintiffs and the Subclass.

      293. Plaintiffs and the Subclass suffered ascertainable losses caused by

FCA’s misrepresentations and/or its concealment of and failure to disclose the Fire

Defect.



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      294. FCA’s violations present a continuing risk to Plaintiffs and the

Subclass as well as to the general public. In particular and as alleged herein, FCA’s

failure to provide a recall remedy leaves Class Vehicle owners facing three

choices: follow FCA’s instructions, if possible, at the great inconvenience of

parking far from home and the expense and environmental impact of additional

consumption of gasoline; ignore FCA’s instructions and risk calamity; or sell the

vehicles at a substantial loss as a result of FCA’s conduct. FCA’s unlawful acts and

practices complained of herein affect the public interest.

      295. As a direct and proximate result of FCA’s violations of the New

Jersey CFA, Plaintiffs and the Subclass have suffered injury-in-fact and/or actual

damage, as alleged above.

      296. Plaintiffs are entitled to recover legal and/or equitable relief including

an order enjoining FCA’s unlawful conduct, treble damages, costs and reasonable

attorneys’ fees pursuant to New Jersey Statutes Annotated § 56:8-19, and any other

just and appropriate relief.

                                  COUNT XIV
                  BREACH OF IMPLIED WARRANTY OF
            MERCHANTABILITY UNDER NEW JERSEY LAW
                          (N.J. Stat. Ann. § 12A:2-314)
  (Alleged by Plaintiffs Jade and Christopher Wadleigh on behalf of the New
                                 Jersey Subclass)

      297. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.


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      298. Plaintiffs Jade and Christopher Wadleigh (“Plaintiffs,” for purposes of

the New Jersey claims) bring this claim on behalf of themselves and the New

Jersey Subclass (“Subclass,” for purposes of the New Jersey claims).

      299. FCA is a “merchant” and “seller” of motor vehicles and the Class

Vehicles are “goods” under New Jersey law. N.J. Stat. Ann. § 12A:2-104(1).

      300. Under New Jersey law, an implied warranty of merchantability

attaches to the Class Vehicles under New Jersey Statutes Annotated § 12A:2-

104(1).

      301. The Class Vehicles were not merchantable when sold or leased

because their hybrid propulsion systems are prone to spontaneous combustion and

pose an unreasonable risk of fires due to the Fire Defect as described herein.

Without limitation, the Class Vehicles share a common defect in that they are all

equipped with a hybrid propulsion system that makes the vehicles susceptible to a

risk of spontaneous combustion, causing an unreasonable risk of death, serious

bodily harm and/or property damage to lessees and owners of the Class Vehicles as

well as their homes, passengers and bystanders. This defect renders the Class

Vehicles when sold/leased and at all times thereafter, unmerchantable and unfit for

their ordinary use of driving. In fact, as a result of the defect, FCA specifically

advises owners and lessees not to charge their batteries and not to drive the Class

Vehicles in electric mode.



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      302. It was reasonable to expect that Plaintiffs and the Subclass members

would use, consume, or be affected by the Class Vehicles.

      303. Plaintiffs and the other Subclass members were and are third-party

beneficiaries to FCA’s contracts with FCA-certified/authorized retailers who sold

or leased the Class Vehicles to Plaintiffs and Subclass members.

      304. As a direct and proximate result of FCA’s breach of the implied

warranty of merchantability, Plaintiffs and the other Subclass members have been

damaged in an amount to be determined at trial.

                                  COUNT XV
                           UNJUST ENRICHMENT
                               (COMMON LAW)
  (Alleged by Plaintiffs Jade and Christopher Wadleigh on behalf of the New
                                Jersey Subclass)
      305. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      306. Plaintiffs Jade and Christopher Wadleigh (“Plaintiffs,” for purposes of

the New Jersey claims) brings this claim on behalf of themselves and the New

Jersey Subclass (“Subclass,” for purposes of the New Jersey claims).

      307. FCA has received and retained a benefit from Plaintiffs and Subclass

members and inequity has resulted.

      308. FCA has benefitted from selling, leasing, and distributing the Class

Vehicles for more than they were worth as a result of FCA’s conduct, and



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Plaintiffs and Subclass members have overpaid for the Class Vehicles and been

forced to pay other costs.

       309. Thus, Plaintiffs and the Subclass conferred a benefit on FCA.

       310. It is inequitable for FCA to retain these benefits.

       311. Plaintiffs and the Subclass were not aware of the true facts about the

Class Vehicles and did not benefit from FCA’s conduct.

       312. FCA knowingly accepted the benefits of its unjust conduct.

       313. As a result of FCA’s conduct, the amount of its unjust enrichment

should be determined in an amount according to proof.

E.     North Carolina

                                  COUNT XVI
            VIOLATION OF NORTH CAROLINA UNFAIR AND
                 DECEPTIVE ACTS AND PRACTICES ACT
                        (N.C. Gen. State §§ 75-1.1, et seq.)
     (Alleged by Plaintiff Perrera on behalf of the North Carolina Subclass)
       314. Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

       315. Plaintiff David Perrera (“Plaintiff,” for purposes of the North Carolina

claims) brings this claim on behalf of himself and the North Carolina Subclass

(“Subclass,” for the purposes of the North Carolina claims).

       316. FCA engaged in “commerce” within the meaning of N.C. Gen. Stat.

§ 75-1.1(b).




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      317. The North Carolina UDTPA broadly prohibits “unfair or deceptive

acts or practices in or affecting commerce.” N.C. Gen. Stat. § 75-1.1(a). In the

course of FCA’s business, it willfully failed to disclose and actively concealed the

Fire Defect. Accordingly, FCA engaged in unfair and deceptive trade practices

because its practices (1) have the capacity or tendency to deceive, (2) offend public

policy, (3) are immoral, unethical, oppressive or unscrupulous, or (4) cause

substantial injury to consumers.

      318. In purchasing or leasing the Class Vehicles, Plaintiff and the Subclass

were deceived by FCA’s failure to disclose the Fire Defect.

      319. Plaintiff and the Subclass reasonably relied upon FCA’s material

omissions and false misrepresentations. They had no way of knowing that FCA’s

representations were false and gravely misleading. As alleged herein, FCA

engaged in extremely sophisticated methods of deception. Plaintiff and the

Subclass did not, and could not, unravel FCA’s deception on their own.

      320. FCA’s unfair or deceptive acts or practices were likely to and did in

fact deceive reasonable consumers.

      321. FCA intentionally and knowingly failed to disclose and

misrepresented material facts regarding the Class Vehicles with an intent to

mislead Plaintiff and the Subclass.




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      322. FCA knew or should have known that its conduct violated the North

Carolina UDTPA.

      323. FCA owed Plaintiff and the Subclass a duty to disclose the truth about

its Class Vehicles because FCA:

             a.     Possessed exclusive knowledge of the Fire Defect;

             b.     Intentionally concealed the foregoing from Plaintiff;
                    and/or
             c.     Made incomplete representations while purposefully
                    withholding material facts from Plaintiff that contradicted
                    these representations; and/or
             d.     Had duties under the TREAD Act and related regulations
                    to disclose and remedy the defects well prior to the issue
                    of its confounding recall notice in 2022.

      324. FCA had a duty to disclose the Fire Defect, because, having

volunteered to provide information to Plaintiff, FCA had the duty to disclose not

just the partial truth, but the entire truth. Further, Plaintiff and the Subclass relied

on FCA’s material omissions and representations that the Class Vehicles they were

purchasing were safe and free from defects.

      325. Plaintiff and the Subclass were unaware of the omitted material facts

referenced herein, and they would not have acted as they did if they had known of

the concealed and/or suppressed facts, in that they would not have purchased the

Class Vehicles manufactured by FCA, would have paid less, and/or would have

taken other affirmative steps in light of the information concealed from them.



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Plaintiff and the Subclass’s actions were justified. FCA was in exclusive control of

the material facts, and such facts were not generally known to the public or

Plaintiff.

       326. FCA’s conduct proximately caused injuries to Plaintiff and the

Subclass.

       327. Plaintiff and the Subclass were injured and suffered ascertainable loss,

injury-in-fact, and/or actual damage as a proximate result of FCA’s conduct in that

Plaintiff and the Subclass overpaid for their Class Vehicles and did not receive the

benefit of their bargain, and their Class Vehicles have suffered a diminution in

value. These injuries are the direct and natural consequence of FCA’s

misrepresentations and omissions.

       328. FCA’s violations present a continuing risk to Plaintiff and the

Subclass as well as to the general public. FCA’s unlawful acts and practices

complained of herein affect the public interest.

       329. Plaintiff and the Subclass seek an order for treble their actual

damages, costs of Court, attorneys’ fees, and any other just and proper relief

available under the North Carolina Act, N.C. Gen. Stat. § 75-16.

       330. Plaintiff and the Subclass also seek punitive damages against FCA

because FCA’s conduct was malicious, willful, reckless, wanton, fraudulent and in

bad faith.



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                                 COUNT XVII
                  BREACH OF IMPLIED WARRANTY OF
         MERCHANTABILITY UNDER NORTH CAROLINA LAW
                           (N.C. Gen. Stat. § 25-2-314)
    (Alleged by Plaintiff Perrera on Behalf of the North Carolina Subclass)
      331.    Plaintiffs reallege and incorporate by reference all paragraphs as

though fully set forth herein.

      332. Plaintiff David Perrera (“Plaintiff,” for purposes of the North Carolina

claims) brings this claim on behalf of himself and the North Carolina Subclass

(“Subclass,” for the purposes of the North Carolina claims).

      333. FCA is a “merchant” of the Class Vehicles within the meaning of

N.C. Gen. Stat. § 25-2-314, and the Class Vehicles are “goods” under the statute.

      334. Under North Carolina law, an implied warranty of merchantability

attaches to the Class Vehicles.

      335. The Class Vehicles were not merchantable when sold or leased

because their hybrid propulsion systems are prone to spontaneous combustion, and

pose an unreasonable risk of fires due to the Fire Defect as described herein.

Without limitation, the Class Vehicles share a common defect in that they are all

equipped with a hybrid propulsion system that makes the vehicles susceptible to a

risk of spontaneous combustion, causing an unreasonable risk of death, serious

bodily harm and/or property damage to lessees and owners of the Class Vehicles as

well as their homes, passengers and bystanders. This defect renders the Class



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 Vehicles when sold/leased and at all times thereafter, unmerchantable and unfit for

 their ordinary use of driving. In fact, as a result of the defect, FCA specifically

 advises owners and lessees not to charge their batteries and not to drive the Class

 Vehicles in electric mode.

       336. Plaintiff and the Subclass were and are third-party beneficiaries to

 FCA’s contracts with FCA-certified/authorized retailers who sold or leased the

 Class Vehicles to Plaintiffs.

       337. It was reasonable to expect that Plaintiff and the Subclass would use,

 consume or be affected by the Class Vehicles, and they are therefore entitled to the

 protections of the implied warranty of merchantability under N.C. Gen. Stat. § 25-

 2-314.

       338. FCA was provided notice of these issues within a reasonable time of

 Plaintiff’s knowledge of the non-conforming or defective nature of the Class

 Vehicles by the filing of this Complaint, by letters from Plaintiff’s counsel to FCA,

 consumer complaints to NHTSA regarding the defect that is the subject of this

 Complaint, and/or by the allegations contained in this Complaint.

       339. As a direct and proximate result of FCA’s breach of the implied

 warranty of merchantability, Plaintiff and the Subclass have been damaged in an

 amount to be determined at trial.




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                                 COUNT XVIII
                            UNJUST ENRICHMENT
                               (COMMON LAW)
     (Alleged by Plaintiff Perrera on behalf of the North Carolina Subclass)

       340.     Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.

       341. Plaintiff David Perrera (“Plaintiff,” for purposes of the North Carolina

 claims) brings this claim on behalf of himself and the North Carolina Subclass

 (“Subclass,” for the purposes of the North Carolina claims).

       342. FCA has received and retained a benefit from Plaintiff and Subclass

 members and inequity has resulted.

       343. FCA has benefitted from selling, leasing, and distributing the Class

 Vehicles for more than they were worth as a result of FCA’s conduct, and Plaintiff

 and Subclass members have overpaid for the Class Vehicles and been forced to pay

 other costs.

       344. Thus, Plaintiff and the Subclass conferred a benefit on FCA.

       345. It is inequitable for FCA to retain these benefits.

       346. Plaintiff and the Subclass were not aware of the true facts about the

 Class Vehicles and did not benefit from FCA’s conduct.

       347. FCA knowingly accepted the benefits of its unjust conduct.

       348. As a result of FCA’s conduct, the amount of its unjust enrichment

 should be determined in an amount according to proof.


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 F.    Pennsylvania

                                 COUNT XIX
   VIOLATION OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
                  AND CONSUMER PROTECTION LAW
                      (73 Pa. Cons. Stat. § 201-1, et seq.)
      (Alleged by Plaintiff Berns on behalf of the Pennsylvania Subclass)

       349. Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.

       350. Plaintiff Berns (“Plaintiff,” for purposes of the Pennsylvania claims)

 brings this claim on behalf of himself and the Pennsylvania Subclass (“Subclass,”

 for the purposes of Pennsylvania claims).

       351. Plaintiff purchased or leased his Class Vehicle primarily for personal,

 family, or household purposes within the meaning of 73 P.S. § 201-9.2.

       352. All of the acts complained of herein were perpetrated by FCA in the

 course of trade or commerce within the meaning of 73 P.S. § 201-2(3).

       353. The Pennsylvania Unfair Trade Practices and Consumer Protection

 Law (“Pennsylvania CPL”) prohibits unfair or deceptive acts or practices,

 including: (i) “Representing that goods or services have … characteristics, ….

 Benefits or qualities that they do not have;” (ii) “Representing that goods or

 services are of a particular standard, quality or grade … if they are of another;” (iii)

 “Advertising goods or services with intent not to sell them as advertised;” and (iv)




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 “Engaging in any other fraudulent or deceptive conduct which creates a likelihood

 of confusion or misunderstanding.” 73 P.S. § 201-2(4).

       354. FCA engaged in unlawful trade practices, including representing that

 Class Vehicles have characteristics, uses, benefits, and qualities which they do not

 have; representing that Class Vehicles are of a particular standard and quality when

 they are not; advertising Class Vehicles with the intent not to sell them as

 advertised; and engaging in other fraudulent or deceptive conduct which creates a

 likelihood of confusion or of misunderstanding.

       355. In purchasing or leasing the Class Vehicles, Plaintiff and the Subclass

 were deceived by FCA’s failure to disclose the Fire Defect.

       356. Plaintiff and the Subclass reasonably relied upon FCA’s material

 omissions and false misrepresentations. They had no way of knowing that FCA’s

 representations were false and gravely misleading. Plaintiff and the Subclass did

 not, and could not, unravel FCA’s deception on their own.

       357. FCA’s unfair or deceptive acts or practices were likely to and did in

 fact deceive reasonable consumers.

       358. FCA intentionally and knowingly failed to disclose and

 misrepresented material facts regarding the Class Vehicles with an intent to

 mislead Plaintiff and the Subclass.




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        359. FCA knew or should have known that its conduct violated the

 Pennsylvania CPL.

        360. FCA owed Plaintiff and the Subclass a duty to disclose the truth about

 its Class Vehicles because FCA:

               a.     Possessed exclusive knowledge of the Fire Defect;

               b.     Intentionally concealed the foregoing from Plaintiff and
                      the Subclass;
               c.     Made incomplete representations while purposefully
                      withholding material facts from Plaintiff and the Subclass
                      that contradicted these representations; and/or
               d.     Had duties under the TREAD Act and related regulations to
                      disclose and remedy the defects.

        361. FCA had a duty to disclose the Fire Defect, because, having

 volunteered to provide information to Plaintiff and the Subclass, FCA had the duty

 to disclose not just the partial truth, but the entire truth. Further, Plaintiff and the

 Subclass relied on FCA’s material omissions and representations that the Class

 Vehicles they were purchasing were safe and free from serious safety defects.

        362. Plaintiff and the Subclass were unaware of the omitted material facts

 referenced herein, and they would not have acted as they did if they had known of

 the concealed and/or suppressed facts, in that they would not have purchased the

 Class Vehicles manufactured by FCA, would have paid less, and/or would have

 taken other affirmative steps in light of the information concealed from them.

 Plaintiff’s and the Subclass members’ actions were justified. FCA was in exclusive


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 control of the material facts, and such facts were not generally known to the public,

 or to Plaintiff and the Subclass.

       363. FCA’s conduct proximately caused injuries to Plaintiff and the

 Subclass.

       364. Plaintiff and the Subclass were injured and suffered ascertainable loss,

 injury-in-fact, and/or actual damage as a proximate result of FCA’s conduct in that

 Plaintiff and the Subclass overpaid for their Class Vehicles and did not receive the

 benefit of their bargain. These injuries are the direct and natural consequence of

 FCA’s misrepresentations and omissions.

       365. FCA is liable to Plaintiff and the Subclass for treble their actual

 damages or $100 each, whichever is greater, and attorneys’ fees and costs. 73 P.S.

 § 201-9.2(a). Plaintiff is also entitled to an award of punitive damages given that

 FCA’s conduct was malicious, wanton, willful, oppressive, or exhibited a reckless

 indifference to the rights of others.

                                   COUNT XX
                  BREACH OF IMPLIED WARRANTY OF
           MERCHANTABILITY UNDER PENNSYLVANIA LAW
                        (13 Pa. Cons. Stat. Ann. § 2314)
       (Alleged by Plaintiff Berns on behalf of the Pennsylvania Subclass)
       366. Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.




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       367. Plaintiff Berns (“Plaintiff,” for purposes of the Pennsylvania claims)

 brings this claim on behalf of himself and the Pennsylvania Subclass (“Subclass,”

 for the purposes of Pennsylvania claims).

       368. FCA is a “merchant” with respect to motor vehicles.

       369. Under Pennsylvania law, an implied warranty of merchantability

 attaches to the Class Vehicles.

       370. The Class Vehicles were not merchantable when sold or leased

 because their hybrid propulsion systems are prone to spontaneous combustion and

 pose an unreasonable risk of fires due to the Fire Defect as described herein.

 Without limitation, the Class Vehicles share a common defect in that they are all

 equipped with a hybrid propulsion system that makes the vehicles susceptible to a

 risk of spontaneous combustion, causing an unreasonable risk of death, serious

 bodily harm, and/or property damage to lessees and owners of the Class Vehicles

 as well as their homes, passengers, and bystanders. This defect renders the Class

 Vehicles when sold/leased and at all times thereafter, unmerchantable, and unfit for

 their ordinary use of driving. In fact, as a result of the defect, FCA specifically

 advises owners and lessees not to charge their batteries and not to drive the Class

 Vehicles in electric mode.

       371. Plaintiff has had sufficient direct dealings with either FCA or its

 agents (dealerships) to establish privity of contract between FCA and Plaintiff.



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 Nonetheless, privity is not required here because Plaintiff and the Subclass are the

 intended third-party beneficiaries of contracts between FCA and its dealers, and

 specifically, of FCA’s implied warranties. The dealers were not intended to be the

 ultimate consumers of the Class Vehicles and have no rights under the warranty

 agreements provided with the Class Vehicles; the warranty agreements were

 designed for and intended to benefit consumers. Finally, privity is also not required

 because the Class Vehicles are dangerous instrumentalities due to the

 aforementioned defect, as spontaneous fires present an unreasonable risk of death,

 serious bodily harm, and/or property damage to lessees and owners of the Class

 Vehicles as well as their homes, other nearby structures and vehicles, passengers,

 and bystanders.

       372. It was reasonable to expect that Plaintiff and the Subclass would use,

 consume, or be affected by the Class Vehicles.

       373. FCA was provided notice of these issues within a reasonable time of

 Plaintiff’s knowledge of the non-conforming or defective nature of the Class

 Vehicles by the filing of this Complaint, by correspondence from Plaintiff’s

 counsel to FCA, consumer complaints to NHTSA regarding the defect that is the

 subject of this Complaint, and/or by the allegations contained in this Complaint.




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       374. As a direct and proximate result of FCA’s breach of the implied

 warranty of merchantability, Plaintiff and the Subclass have been damaged in an

 amount to be determined at trial.

                                  COUNT XXI
                            UNJUST ENRICHMENT
                               (COMMON LAW)
       (Alleged by Plaintiff Berns on behalf of the Pennsylvania Subclass)

       375. Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.

       376. Plaintiff Berns (“Plaintiff,” for purposes of the Pennsylvania claims)

 brings this claim on behalf of himself and the Pennsylvania Subclass (“Subclass,”

 for the purposes of Pennsylvania claims).

       377. FCA has received and retained a benefit from Plaintiff and Subclass

 members and inequity has resulted.

       378. FCA has benefitted from selling, leasing, and distributing the Class

 Vehicles for more than they were worth as a result of FCA’s conduct, and Plaintiff

 and Subclass members have overpaid for the Class Vehicles and been forced to pay

 other costs.

       379. Thus, Plaintiff and the Subclass conferred benefits on FCA.

       380. It is inequitable for FCA to retain these benefits.

       381. Plaintiff and the Subclass were not aware of the true facts about the

 Class Vehicles and did not benefit from FCA’s conduct.


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       382. FCA knowingly accepted the benefits of its unjust conduct.

       383. As a result of FCA’s conduct, the amount of its unjust enrichment

 should be determined in an amount according to proof.

 G.    Texas
                                  COUNT XXII
                BREACH OF THE IMPLIED WARRANTY OF
                 MERCHANTABILITY UNDER TEXAS LAW
                        (Tex. Bus. & Com. Code § 2.314)
          (Alleged by Plaintiff Liscano on behalf of the Texas Subclass)
       384. Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.

       385. Plaintiff Liscano (“Plaintiff,” for purposes of the Texas claims) brings

 this claim on behalf of himself and the Texas Subclass (“Subclass” for the

 purposes of the Texas claims).

       386. FCA was and is a merchant with respect to motor vehicles under

 Texas Business and Commerce Code § 2.104.

       387. Under Texas Business and Commerce Code § 2.314, a warranty that

 the Class Vehicles were in merchantable condition was implied by law in the

 transactions when Plaintiff and the Subclass purchased or leased their Class

 Vehicles.

       388. The Class Vehicles were not merchantable when sold or leased

 because their hybrid propulsion systems are prone to spontaneous combustion and




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 pose an unreasonable risk of fires due to the Fire Defect as described herein.

 Without limitation, the Class Vehicles share a common defect in that they are all

 equipped with a hybrid propulsion system that makes the vehicles susceptible to a

 risk of spontaneous combustion, causing an unreasonable risk of death, serious

 bodily harm and/or property damage to lessees and owners of the Class Vehicles as

 well as their homes, passengers and bystanders. This defect renders the Class

 Vehicles when sold/leased and at all times thereafter, unmerchantable and unfit for

 their ordinary use of driving. In fact, as a result of the defect, FCA specifically

 advises owners and lessees not to charge their batteries and not to drive the Class

 Vehicles in electric mode.

       389. Plaintiff and the Subclass were and are third-party beneficiaries to

 FCA’s contracts with FCA-certified/authorized retailers who sold or leased the

 Class Vehicles to Plaintiff and the Subclass.

       390. It was reasonable to expect that Plaintiff and the Subclass would use,

 consume, or be affected by the Class Vehicles.

       391. FCA was provided notice of these issues within a reasonable time of

 Plaintiff’s and the Subclass members’ knowledge of the non-conforming or

 defective nature of the Class Vehicles by the filing of this Complaint, by

 correspondence from Plaintiff’s counsel to FCA, consumer complaints to NHTSA




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 regarding the defect that is the subject of this Complaint, and/or by the allegations

 contained in this Complaint.

       392. As a direct and proximate result of FCA’s breach of the implied

 warranty of merchantability, Plaintiff and the Subclass have been damaged in an

 amount to be determined at trial.

                                  COUNT XXIII
                           UNJUST ENRICHMENT
                                (COMMON LAW)
          (Alleged by Plaintiff Liscano on behalf of the Texas Subclass)
       393. Plaintiffs reallege and incorporate by reference all paragraphs as

 though fully set forth herein.

       394. Plaintiff Liscano (“Plaintiff,” for purposes of the Texas claims) brings

 this claim on behalf of himself and the Texas Subclass (“Subclass” for the

 purposes of the Texas claims).

       395. FCA has received and retained a benefit from Plaintiff and Subclass

 members and inequity has resulted.

       396. FCA has benefitted from selling, leasing, and distributing the Class

 Vehicles for more than they were worth as a result of FCA’s conduct, and Plaintiff

 and Subclass members have overpaid for the Class Vehicles and been forced to pay

 other costs.

       397. Thus, Plaintiff and the Subclass conferred a benefit on FCA.

       398. It is inequitable for FCA to retain these benefits.


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       399. Plaintiff and the Subclass were not aware of the true facts about the

 Class Vehicles and did not benefit from FCA’s conduct.

       400. FCA knowingly accepted the benefits of its unjust conduct.

       401. As a result of FCA’s conduct, the amount of its unjust enrichment

 should be determined in an amount according to proof.

                          X.    REQUEST FOR RELIEF
       WHEREFORE, Plaintiffs, individually and on behalf of members of the Class

 and Subclasses, respectfully request that the Court enter judgment in their favor and

 against FCA, as follows:

       A.     Certification of the proposed Nationwide and State Subclasses,

 including appointment of Plaintiffs’ counsel as Class Counsel;

       B.     Restitution, including at the election of Class and Subclass members,

 recovery of the purchase price of their Class Vehicles, or the overpayment for their

 vehicles;

       C.     Damages, including punitive damages, costs, and disgorgement in an

 amount to be determined at trial;

       D.     An order requiring FCA to pay both pre- and post-judgment interest on

 any amounts awarded;

       E.     An award of costs and attorneys’ fees; and

       F.     Such other or further relief as may be appropriate.



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                       XI.    DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand a jury trial for all claims so triable.

 DATED: March 4, 2024                    Respectfully submitted,

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